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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA


                                                           Case No.: 17-30112
Vanity Shop of Grand Forks, Inc.,
                                                           Chapter 11
                       Debtor.


            AMENDED FIRST SUPPLEMENT TO DEBTOR’S PLAN OF LIQUIDATION



       Vanity Shop of Grand Forks, Inc. (“Debtor”), debtor-in-possession in the above-captioned

Chapter 11 case, hereby files this Amended First Supplement to Debtor’s Plan of Liquidation (“Plan

Supplement”).

       1.      The documents contained in the Plan Supplement are integral to, part of, and

incorporated by reference into Debtor’s Plan of Liquidation (“Plan”). However, these documents have

not yet been approved by the Bankruptcy Court. If the Plan is approved, the documents contained in the

Plan Supplement will be approved by the Bankruptcy Court pursuant to the Order confirming the Plan.

       2.      The confirmation hearing on Debtor’s Plan is set for Tuesday, May 22, 2018, at 9:30

a.m., before the Honorable Shon Hastings, United States Bankruptcy Judge, at the United States Court

for the District of North Dakota, Quentin N. Burdick U.S. Courthouse, Courtroom #3, Second Floor, 655

First Avenue North, Fargo, North Dakota.

       3.      The documents contained in the Plan Supplement are not final, are subject to ongoing

review and change, and remain subject to approval in accordance with the Plan. The Debtor reserves all

rights to amend, modify, or supplement the Plan Supplement, and any of the documents contained

therein, at any time up to and including the Effective Date of the Plan.

       4.      This Plan Supplement, in Exhibits A-D attached hereto and incorporated herein by

reference, sets forth the proposed Plan treatment for the following classes of claims:
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          Exhibit               Class                         Description

             A              Unclassified         Administrative and Priority Tax Claims

                                                      Convenience Class – General
             B                 Class 2
                                                          Unsecured Claims

             C                 Class 3               Effective Date Unsecured Claims

             D                 Class 4           Post-Effective Date Unsecured Claims




Dated this 21st day of May, 2018.              VOGEL LAW FIRM


                                           BY: /s/ Caren W. Stanley
                                               Caren W. Stanley (#06100)
                                               cstanley@vogellaw.com
                                               218 NP Avenue
                                               PO Box 1389
                                               Fargo, ND 58107-1389
                                               Telephone: (701) 237-6983
                                               Fax: (701) 476-7676
                                               ATTORNEYS FOR DEBTOR




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                                 EXHIBIT A

                            (Administrative Claims)
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                                                     Administrative Claims & Priority Tax Claims
                                                                   SCHEDULE E/F                      PROOF OF                                       ALLOWED CLAIM
 NO.                        CREDITOR NAME                                         SCHEDULED AMOUNT               DATE POC FILED   CLAIM AMOUNT
                                                                    CREDITOR #                       CLAIM NO.                                         AMOUNT
ADMINISTRATIVE CLAIMS
  1 B.E. Capital Management Fund LP                                                                     42          3/31/2017          $16,124.35      $16,124.35
        (Kash Apparel)
  2 Euler Hermes Agent for Project 28 Clothing                        3.467              $1,896.00      44          3/31/2017           $3,557.50      $1,950.00
  3 Cavalini Inc. dba Ci Sono                                         3.112            $171,430.98     233           6/6/2017         $177,004.50     $40,362.50
  4 Edgemine Inc.                                                     3.193             $70,182.35     198          5/16/2017          $86,166.00     $18,428.50
  5 Fantas Eyes Inc.                                                  3.203             $43,452.63     300          6/30/2017         $48,856.78      $13,268.47
      Lozier Corporation                                              3.343             $26,708.34     298         06/29/2017         $204,290.18     $14,510.56
  6 Lux Accessories Ltd                                               3.345             $14,997.95     266          6/20/2017          $15,622.87     $11,966.62
  7 Poof Apparel                                                      3.455              $9,028.44     205          5/19/2017           $5,220.00       $846.00
  8 Rosenthal & Rosenthal Inc.                                                                         135           5/8/2017         $146,264.30    $146,264.30
       *Bemine NYC, Inc. - $3,300.00
       *David & Young Group - $2,016.00
       *Fashion Ave Sweater Knits/It's Our Time - $20,400.00
       *GMA Accessories, Inc./Capelli - $25,345.00
       *Jodi Kristopher, LLC/City Triangles - $18,587.25
       *Second Generation BEBOP - $24,913.50
       *Tempted Apparel - $51,702.55
  9 Sun Ban Fashions Inc.                                             3.567              $6,245.01     275          6/22/2017           $6,368.90       $3,380.12
PRIORITY TAX CLAIMS
 10 Arkansas: Sebastian County Tax Collector                          2.231                  $0.00      17         03/20/2017             $747.08         $186.77
 11 Arkansas: Washington County Tax Collector                         2.285                  $0.00     116         05/01/2017            $629.80          $131.19
 12 ͻColorado: El Paso Treasurer                                      2.271                  $0.00      92         04/17/2017           $1,153.06       $1,153.06
 13 Colorado: Mesa County Treasurer                                                                                                      $511.20          $127.80
 14 Colorado: Pueblo County Treasurer                                                                                                   $3,025.66         $756.42
 15 Idaho: Bonneville County Treasurer                                2.19                   $0.00     21          03/20/2017             $800.34        $466.87
 16 Idaho: Kootenai County Treasurer                                  2.141                  $0.00     210         05/19/2017              $90.75          $22.69
 17 Idaho: Twin Falls County Treasurer                                                                                                     $10.40           $2.34
 18 ͻ Idaho: Ada County Treasurer                                                                                                        $631.23          $631.23
 19 Indiana: Allen County Treasurer                                    2.5                   $0.00     195         05/16/2017             $772.80         $225.43
 20 Kansas: Saline County Treasurer                                                                                                        $44.60          $11.15
 21 Kansas: Ellis County Treasurer                                                                                                        $183.92          $45.98
 22 ͻMichigan: Meridian Charter Township                              2.157                  $0.00     165         05/10/2017             $561.10           $0.00
 23 ͻMichigan: City of Sterling Heights                                                                                                   $593.65         $593.65
 24 Michigan: City of Sterling Heights                                                                                                     $88.81           $0.00
 25 ͻMichigan: Charter Township of Flint                                                               364         03/29/2018             $368.03         $368.03
 26 ͻMichigan: City of Auburn Hills                                                                                                     $1,672.59       $1,672.59
 27 ͻMichigan: City of Grandville                                                                                                       $1,710.37       $1,710.37
 28 Michigan: City of Auburn Hills                                                                                                          $0.00           $0.00
 29 ͻMichigan: Frenchtown Charter Township                                                                                              $1,386.89       $1,386.89
 30 Michigan: Charter Township of Flint                                                                                                     $0.00           $0.00
 31 Missouri: Collector for County of Buchanan                                                                                             $48.33          $12.08
 32 Missouri: Jasper County Collector                                                                                                      $65.38          $16.35
 33 Missouri: St. Louis County Treasurer                                                                                                  $288.76          $72.19
 34 Missouri: Greene County Treasurer                                                                                                     $216.92          $54.23
 35 Missouri: Boone County Collector of Revenue                                                                                           $752.45         $188.11
 36 Missouri: Jackson County Collector                                                                                                    $604.65         $151.16
 37 Missouri: St. Charles Collector of Revenue                                                                                          $1,433.66         $358.42
 38 Montana: Yellowstone County Treasurer                             2.303                  $0.00     334         08/07/2017            $163.09           $47.57
 39 Montana: Butte-Silver Bow Treasurer                                                                                                   $110.48          $27.62
 40 # Montana: Cascade County Treasurer                                                                                                   $122.53         $122.53
 41 Montana: Missoula County Clerk                                                                                                        $216.59          $63.17
 42 North Carolina: Guilford County Tax Department                                                                                      $2,660.12         $554.10
 43 North Carolina: Forsyth County Tax Collector                                                       361           3/5/2018           $2,275.22         $461.24
 44 ͻNorth Carolina: Buncombe County Tax Department                                                    369          4/26/2018           $1,404.15         $292.48
 45 # North Dakota: Ward County Real Estate Tax - Payable to CBL                                                                        $5,475.37       $5,475.37
      for Dakota Square Mall
 46 Nebraska: Madison County Treasurer                                                                                                     $65.94          $16.49
 47 Nebraska: Hall County Treasurer                                                                                                       $223.14          $55.79
 48 Nebraska: Buffalo County Treasurer                                                                                                     $19.38           $4.85
 49 Oklahoma: Tulsa County Treasurer (2016 Taxes)                     2.274                  $0.00      55         03/23/2017           $1,889.00       $1,889.00
 50 Oklahoma County Treasurer                                         2.207                  $0.00      63         04/03/2017           $3,031.28       $3,031.28
 51 Oklahoma: Tulsa County Treasurer                                                                                                    $1,623.00        $405.75
 52 Oklahoma: Garfield County Treasurer                                                                                                 $1,171.00        $292.75
 53 Department of the Treasury - Internal Revenue Service             2.12                   $0.00     72          04/10/2017           $7,208.74       $1,877.19
 54 Tennessee Department of Revenue                                   2.263                  $0.00     309         07/03/2017          $10,810.00      $10,810.00
 55 Tennessee: Montgomery County Trustee                                                                                                  $220.00          $55.00
 56 Tennessee: Murfreesboro City Tax Collector                                                                                             $17.00           $4.25
 57 Tennessee: Rutherford County Trustee                                                                                                   $38.00           $9.50
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                                                         Administrative Claims & Priority Tax Claims
                                                                   SCHEDULE E/F                       PROOF OF                                        ALLOWED CLAIM
 NO.                          CREDITOR NAME                                       SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT
                                                                    CREDITOR #                        CLAIM NO.                                          AMOUNT
 58    Tennessee: Washington County Tax Collector                                                                                          $106.12           $26.53
 59    Tennessee: Johnson City Recorder                                                                                                      $84.00          $21.00
 60    Texas: Gregg County                                            2.102                  $0.00 106 and 347        4/24/2017           $1,267.93       $1,267.93
                                                                                                                     & 11/14/17
 61    ͻTexas: Lubbock Central Appraisal District                     2.148                  $0.00    9 and 343       3/10/2017           $1,558.46       $1,558.46
                                                                                                                     & 10/13/17
 62    ͻTexas: Taxing Districts Collected by Potter County            2.217                  $0.00 22 and 344           3/20/17           $3,238.09       $3,238.09
                                                                                                                   & 10/27/2017
 63    ͻTexas: Smith County                                           2.238                  $0.00 28 and 348         3/24/2017            $415.06         $415.06
                                                                                                                     & 11/27/17
 64    ͻTexas: Jefferson County                                       2.129                  $0.00 91 and 349         4/17/2017           $1,800.08       $1,800.08
                                                                                                                      & 12/4/17
 65    ͻTexas: Tom Green County Appraisal District                    2.268                  $0.00       196         05/16/2017           $1,400.00       $1,400.00
 66    ͻTexas: Tyler Independent School District                                                     336 and 345      8/18/2017            $757.41         $757.41
                                                                                                                      & 11/2/17
 67    Texas: Tyler Independent School District                                                      336 and 345      8/18/2017            $757.41            $0.00
                                                                                                                      & 11/2/17
 68 ͻTexas: Midland Central Appraisal District                                                                                            $1,151.07      $1,151.07
 69 Washington: Benton County Treasurer                               2.16                   $0.00      95           04/18/2017             $365.20        $240.24
 70 Wisconsin: City of Brookfield                                     2.25                   $0.00      264          06/19/2017             $383.50        $383.50
 71 Wisconsin: City of Brookfield                                                                                                         $1,737.38        $174.32
 72 Wisconsin: City of Madison Treasurer                                                                346          11/13/2017           $1,562.96        $390.74
 73 Wisconsin: City of LaCrosse                                                                                                             $681.57        $170.39
 74 Wisconsin: City of Eau Claire                                                                                                           $508.12        $148.20
 75 Wisconsin: Brown County Treasurer                                                                                                     $1,576.00        $394.00
 76 Wisconsin: City of Wausau                                                                                                               $192.36         $48.09
 77 Wisconsin: Town of Grand Chute                                                                                                          $169.17         $42.29
 78 Wisconsin: Village of Greendale, Milwaukee City                                                                                         $443.96        $110.99
 79 Wisconsin: Village of Ashwaubenon, Green Bay                                                                                          $1,607.52        $401.88
 80 Wisconsin: Fond Du Lac County Treasurer                                                                                                 $612.65        $153.16
 81 Wisconsin: City of Janesville                                                                                                           $397.04         $99.26
 82 West Virginia: Wood County Treasurer                                                                                                  $1,063.30        $265.83
 83 West Virginia: Monongalia County Treasurer                                                                                              $556.81        $278.41
 84 Wyoming: Natrona County Treasurer                                 2.184                  $0.00       12          03/13/2017             $224.72         $56.18
 85 Wyoming: Larimore County Treasurer                                                                                                      $354.07         $88.52
TOTAL:                                                                                 $343,941.70                                      $791,583.80    $316,085.34
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                                 EXHIBIT B

            Class 2 (Convenience Class – General Unsecured Claims)
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                                Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                           SCHEDULE E/F                        PROOF OF                                       ALLOWED CLAIM
  NO.                   CREDITOR NAME                                       SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                         CLAIM NO.                                         AMOUNT


GIFT CARD HOLDERS, EMPLOYEES
    1   Abby Loss                                                     3.1                        214         05/23/2017            $30.00             $30.00
    2   Adde Schroader                                             3.501              $19.61                                                          $19.61
    3   Alexis Perez                                               3.446              $14.51                                                          $14.51
    4   Alfa Arreguin                                               3.51              $15.80                                                          $15.80
    5   Alicai Harris                                              3.254              $31.93                                                          $31.93
    6   Alyssa Sonksen                                             3.530              $32.08                                                          $32.08
    7   Amanda D. Ramsey                                              3.1                        115         04/28/2017            $25.00             $25.00
    8   Amanda Murphy                                              3.393              $16.04                                                          $16.04
    9   Amanda Thibault                                            3.589              $18.14                                                          $18.14
   10   Amber Bosset                                                3.86             $116.64                                                         $116.64
   11   Anna Gibbs                                                 3.234              $15.80                                                          $15.80
   12   Anne Wiedel                                                3.630              $36.76                                                          $36.76
   13   Annmarie Downey                                            3.181              $13.18                                                          $13.18
   14   Ashleigh Sympson                                           3.572              $13.68                                                          $13.68
   15   Ashley Smith                                               3.525             $177.66                                                         $177.66
   16   Betha Vandelft                                             3.601              $19.00                                                          $19.00
   17   Brandy Kinney                                              3.323              $16.30                                                          $16.30
   18   Breana Levins                                                 3.1                         89         04/13/2017            $26.93             $26.93
   19   Brianna Cannon                                             3.106              $10.60                                                          $10.60
   20   Britt Sorenson                                             3.531              $12.61                                                          $12.61
   21   Brittany Roesch                                               3.1                        209         05/19/2017            $42.99             $42.99
   22   Brook Bokowski                                              3.84              $20.00                                                          $20.00
   23   Carly Walsh                                                   3.1                        138         05/08/2017            $50.00             $50.00
   24   Carol Dahlinger                                            3.162              $16.95                                                          $16.95
   25   Cassandra Nguyen                                           3.408              $31.78                                                          $31.78
   26   Cassie Hoiness                                                3.1                        216         05/22/2017            $75.00             $75.00
   27   Catherine D. Meinke                                           3.1                        176         05/15/2017           $100.00            $100.00
   28   Chekila Simmon                                             3.521              $24.08                                                          $24.08
   29   Chelsie Canida                                             3.104               $3.80                                                           $3.80
   30   Chera Nichols                                                 3.1                        245         06/16/2017            $50.00             $50.00
   31   Chera Nichols                                                 3.1                        246         06/16/2017            $50.00             $50.00
   32   Cindy J Cantero                                               3.1                        276         06/23/2017            $42.83             $42.83
   33   Corene Gurno                                               3.247              $13.99                                                          $13.99
   34   Corrin McKegue                                             3.363              $20.00                                                          $20.00
   35   Courtney Seekins                                           3.508              $48.10                                                          $48.10
   36   Danielle McClure                                           3.361              $40.04                                                          $40.04
   37   Darala Magpie                                              3.348              $42.49                                                          $42.49
   38   Desiree Perez                                              3.447              $13.43                                                          $13.43
   39   Devanna Simpson                                            3.523              $13.03                                                          $13.03
   40   Domini Roberts                                             3.485              $16.15                                                          $16.15
   41   Donna Walker                                               3.614              $12.12                                                          $12.12
   42   Dorrine Gardipee                                              3.1                        231         06/05/2017            $50.00             $50.00
   43   Dusty Cissell                                              3.134              $31.25                                                          $31.25
   44   Elizabeth Johnson                                          3.306              $15.70                                                          $15.70
   45   Elsa Rivera                                                3.482              $19.42                                                          $19.42
   46   Emily Peterson                                                3.1                        220         05/26/2017           $100.00            $100.00
   47   Esperan Jaquez                                             3.287              $27.89                                                          $27.89
   48   Gina M. Pantaleo                                              3.1                         46         03/31/2017            $50.00             $50.00
   49   Hanna Shatila                                              3.513              $14.39                                                          $14.39
   50   Heather Baumgartner                                         3.65              $62.70                                                          $62.70
   51   Heather Costa                                              3.155              $13.00                                                          $13.00
   52   Heather Kluck                                              3.324              $16.66                                                          $16.66
   53   Holly Hasbrouck                                            3.257              $16.10                                                          $16.10
   54   Holly Nelson                                               3.403              $12.40                                                          $12.40
   55   Hope Woolf                                                 3.640              $10.33                                                          $10.33
   56   Jackie Timm                                                3.591              $21.09                                                          $21.09
   57   Jaiden Weston                                              3.628              $59.28                                                          $59.28
   58   Jamie Reusche                                                 3.1                        213         05/22/2017           $116.49            $116.49
   59   Jammie Ripke                                               3.481              $24.55                                                          $24.55
   60   Jasmine Scott                                              3.504              $13.29                                                          $13.29
   61   Je Christopher                                             3.132              $13.35                                                          $13.35
   62   Jenn Archibald                                              3.50              $14.20                                                          $14.20
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                                Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                           SCHEDULE E/F                        PROOF OF                                       ALLOWED CLAIM
NO.                     CREDITOR NAME                                       SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                         CLAIM NO.                                         AMOUNT


 63   Jennifer Byrd                                                3.101              $23.83                                                           $23.83
 64   Jennifer Giampietro                                             3.1                         85         04/10/2017           $100.00             $100.00
 65   Jennifer Knobock                                                3.1             $50.00     353         12/27/2017            $50.00              $50.00
 66   Jessi Hoerth                                                    3.1                         94         04/17/2017            $50.00              $50.00
 67   Jessi Pfaff                                                  3.450              $26.54                                                           $26.54
 68   Jessica Hogan                                                3.266              $54.10                                                           $54.10
 69   Jessica Suitter                                                 3.1                         87         04/11/2017         $1,200.00           $1,200.00
 70   Joann Bryan                                                   3.98               $8.01                                                            $8.01
 71   Jocelyn Dorwart                                              3.180              $15.65                                                           $15.65
 72   Juanita Nelson                                               3.404             $103.28                                                          $103.28
 73   Judy Campbell                                                3.103              $24.22                                                           $24.22
 74   Judy Quinn                                                   3.471             $107.82                                                          $107.82
 75   Julia Kubicek                                                   3.1             $45.31     351         12/12/2017            $45.31              $45.31
 76   Julie Soderlund                                              3.529              $19.03                                                           $19.03
 77   Kais Kucholick                                               3.327              $15.49                                                           $15.49
 78   Kari Myers                                                   3.396              $15.49                                                           $15.49
 79   Kathleen Schutte                                                3.1                        289         06/25/2017           $100.00             $100.00
 80   Katie Harrison                                               3.255              $16.18                                                           $16.18
 81   Katie Lipscomb                                                  3.1                        244         06/16/2017            $67.33              $67.33
 82   Katie Mosgrove                                               3.384              $21.79                                                           $21.79
 83   Katie Osweiler                                                  3.1                         65         04/04/2017           $100.00             $100.00
 84   Katie Rhoden                                                 3.479              $15.88                                                           $15.88
 85   Katie Rogalla                                                3.489              $12.62                                                           $12.62
 86   Kaycee Biggs                                                  3.76             $103.74                                                          $103.74
 87   Kayci Patterson                                              3.441               $3.18                                                            $3.18
 88   Kaylon Sellers                                                  3.1                        247         06/18/2017            $50.00              $50.00
 89   Kelly Sanchez                                                3.499              $13.00                                                           $13.00
 90   Kelly Waykins                                                3.621              $21.38                                                           $21.38
 91   Kend Bettreudn                                                3.74              $16.01                                                           $16.01
 92   Kendal Maxwell                                               3.359              $13.15                                                           $13.15
 93   Kileigh Smith                                                3.526               $8.00                                                            $8.00
 94   Kimberly Mannon                                                 3.1                        177         05/15/2017           $200.00             $200.00
 95   Kneessa Booker                                                  3.1                        217         05/24/2017            $25.00              $25.00
 96   Kris Stankevitz                                              3.538               $7.38                                                            $7.38
 97   Kristie Baer                                                    3.1                        222         05/30/2017            $27.20              $27.20
 98   Kristie Binger                                                3.77              $16.50                                                           $16.50
 99   Lacy Mullins                                                 3.389              $64.15                                                           $64.15
100   LaRonica M. Tomlinson                                           3.1            $100.00     350          12/9/2017           $100.00             $100.00
101   Larry Marson                                                 3.355              $26.53                                                           $26.53
102   Leanna Chapen                                                3.126              $17.31                                                           $17.31
103   Les Bumgardner                                               3.100              $26.73                                                           $26.73
104   Leslie Young                                                 3.643              $26.48                                                           $26.48
105   Li Kruckenberg                                               3.325              $21.09                                                           $21.09
106   Linda Kefgley                                                3.319              $11.43                                                           $11.43
107   Linda Stanley                                                3.539              $26.73                                                           $26.73
108   Lindsay N Hackett                                               3.1                        321         07/03/2017           $600.00             $600.00
109   Lisa Heavilin                                                3.261              $22.00                                                           $22.00
110   Lori Thaodorf                                                3.583              $20.48                                                           $20.48
111   Mallory Stubbs                                               3.563              $20.52                                                           $20.52
112   Manda Gentry                                                 3.232              $16.26                                                           $16.26
113   Manno Becklund                                                3.67              $16.97                                                           $16.97
114   Margaret Fornero                                             3.221              $21.44                                                           $21.44
115   Megan Shreeve                                                3.519              $25.44                                                           $25.44
116   Meghan Hammond                                               3.252              $16.44                                                           $16.44
117   Melissa Sapp                                                 3.500              $11.64                                                           $11.64
118   Michael Davis                                                   3.1                        109         04/24/2017            $50.00              $50.00
119   Michael Porter                                               3.458              $32.50                                                           $32.50
120   Michelle Johnson                                             3.307              $77.29                                                           $77.29
121   Miranda Ferski                                               3.207              $14.98                                                           $14.98
122   Neka Gary                                                    3.229              $32.08                                                           $32.08
123   Nelda Wilson                                                 3.634              $25.00                                                           $25.00
124   Nicole Crader                                                   3.1             $50.00     352         12/20/2017            $50.00              $50.00
125   Nicole Taylor                                                3.575              $15.88                                                           $15.88
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                                   Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                        PROOF OF                                       ALLOWED CLAIM
  NO.                     CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                         CLAIM NO.                                         AMOUNT


  126 Nikki Ross                                                      3.490              $32.56                                                          $32.56
  127 Nyagoa Gony                                                     3.238              $48.11                                                          $48.11
  128 Olive Deandrea                                                  3.169              $17.63                                                          $17.63
  129 Paige L Holman                                                                                139         05/09/2017           $157.50              $0.00
  130 Patri Chaffins                                                  3.125              $13.66                                                          $13.66
  131 Peg Gulbranson                                                  3.246              $31.78                                                          $31.78
  132 Rbecc Baertsch                                                   3.62              $10.00                                                          $10.00
  133 Rebekah Dye                                                     3.189              $17.14                                                          $17.14
  134 Rosaline Glover                                                 3.235              $12.03                                                          $12.03
  135 Rosemary Mena                                                   3.365              $21.38                                                          $21.38
  136 S. Hermelbracht                                                 3.262              $10.70                                                          $10.70
  137 Samantha Dresen                                                 3.182              $14.22                                                          $14.22
  138 Sara Buechel                                                     3.99               $3.80                                                           $3.80
  139 Sarah Davis                                                        3.1                         98         04/20/2017            $50.00             $50.00
  140 Sarah Fouts                                                     3.223              $15.82                                                          $15.82
  141 Sarah Halsted                                                      3.1                        215         05/23/2017            $50.00             $50.00
  142 Sarah Ofarrio                                                   3.421              $18.18                                                          $18.18
  143 Shari Metz                                                      3.367              $91.91                                                          $91.91
  144 Shaylinn Kaus                                                   3.316              $12.28                                                          $12.28
  145 Sheena Nelson                                                   3.405              $13.08                                                          $13.08
  146 Shelby Swanson                                                  3.570               $1.90                                                           $1.90
  147 Sherri Hickman                                                  3.263              $21.10                                                          $21.10
  148 Shonnna Zuber                                                   3.645               $8.69                                                           $8.69
  149 Sindy M. Shanks                                                    3.1                        102         04/21/2017            $50.00             $50.00
  150 Skylar Obrien                                                   3.420              $37.80                                                          $37.80
  151 Sonika Hamdan                                                   3.251              $21.40                                                          $21.40
  152 Stacey Stormont                                                 3.562              $12.17                                                          $12.17
  153 Stacey Wallace                                                  3.615              $13.54                                                          $13.54
  154 Stepahnie Hallich                                               3.250              $12.40                                                          $12.40
  155 Stephanie Neuhaus                                               3.407              $32.08                                                          $32.08
  156 Tabatha McClure                                                    3.1                        90          04/13/2017            $25.00             $25.00
  157 Tara Bergsjo                                                       3.1                        108         04/21/2017           $115.00            $115.00
  158 Tiffany Larsen                                                  3.332               $6.85                                                           $6.85
  159 Tiffany Twohill                                                    3.1                        229         06/02/2017           $100.00            $100.00
  160 Tracy Powers                                                    3.459              $24.98                                                          $24.98
  161 Trista Fowler                                                      3.1                        242         06/14/2017            $52.50             $52.50
  162 Whitney McClure                                                 3.362               $8.13                                                           $8.13
  163 Wintey Shayla                                                   3.515               $1.35                                                           $1.35
UTILITY COMPANIES
  164 ALP Utilities                                                    3.34            $713.65                                                           $713.65
  165 Ameren Illinois                                                  3.35            $519.40       27         03/23/2017           $654.14             $654.14
  166 American Electric Power                                          3.37            $654.23                                                           $654.23
  167 American Electric Power                                          3.38            $828.17                                                           $828.17
  168 Ames Municipal Utilities                                         3.41            $695.59                                                           $695.59
  169 Aqua Ohio Inc.                                                   3.49              $11.82                                                           $11.82
  170 Ashwaubenon Water & Sewer Utility                                3.54            $135.05                                                           $135.05
  171 Atmos Energy Corporation                                         3.59            $222.63      297         06/29/2017           $143.67             $143.67
  172 Baxter, City of                                                  3.66              $61.01                                                           $61.01
  173 Belmont County Sanitary Sewer District                           3.70              $35.00                                                           $35.00
  174 Bemidji Holding, LLC                                             3.71              $82.59                                                           $82.59
  175 Benton PUD                                                       3.73            $306.13                                                           $306.13
  176 Black Hawk Waste Disp Inc.                                       3.79            $176.55                                                           $176.55
  177 Black Hills Energy                                               3.80            $531.25                                                           $531.25
  178 Brainerd Public Utilities                                        3.87            $592.15                                                           $592.15
  179 Cass County Electric Coop                                       3.111            $454.11                                                           $454.11
  180 Cedar Falls Utilities                                           3.114           $1,082.03     208         05/19/2017         $1,176.82           $1,176.82
  181 Centerpoint Energy                                              3.115            $269.26                                                           $269.26
  182 CenturyTel of Central Missouri dba CenturyLink                                                 81         04/10/2017            $47.10              $47.10
  183 CenturyTel of Southwest Missouri dba CenturyLink                                               80         04/10/2017            $76.49              $76.49
  184 CenturyTel of Wisconsin, LLC dba CenturyLink                    3.122              $36.90      78         04/10/2017             $5.65               $5.65
  185 City of Fergus Falls                                            3.135              $77.00                                                           $77.00
  186 City of Lima                                                    3.136              $19.02                                                           $19.02
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                                   Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                       PROOF OF                                       ALLOWED CLAIM
NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                        CLAIM NO.                                         AMOUNT


187   City of Garden City                                             3.227            $352.76     272         06/21/2017           $352.76             $352.76
188   City of Kearney Utilities Department                            3.318            $341.80      31         03/27/2017           $358.52             $358.52
189   City Water and Light                                            3.139            $409.80     238         06/12/2017           $337.99             $337.99
190   Clarksville Department of Electricity                           3.141            $449.23                                                          $449.23
191   Clarksville Gas & Water                                         3.142             $27.14                                                           $27.14
192   Columbia Gas of Ohio                                            3.147             $58.58     263         06/19/2017           $140.28             $140.28
193   Colorado Springs Utilities                                      3.146            $131.37                                                          $131.37
194   Consumers Energy Company                                        3.151             $56.36      40         03/30/2017            $58.06              $58.06
195   Detroit Lakes, City of                                          3.173            $469.57                                                          $469.57
196   DTE Energy                                                      3.183            $589.75                                                          $589.75
197   Dubuque, City of                                                3.184             $88.59                                                           $88.59
198   Duke Energy                                                     3.186            $325.00                                                          $325.00
199   Duke Energy Progress                                            3.187            $828.22                                                          $828.22
200   Dominion Hope Gas                                               3.179            $276.05     103         04/07/2017           $172.16             $172.16
201   Embarq Minnesota, INC dba CenturyLink                                                         82         04/10/2017             $4.52               $4.52
202   Empire District                                                 3.196           $608.29                                                           $608.29
203   Energy West, Inc.                                               3.197           $292.79       16         03/20/2017           $294.10             $294.10
204   Fargo, City of                                                  3.205           $341.60                                                           $341.60
205   Fort Dodge, City of                                             3.222             $90.62                                                           $90.62
206   Grand Island, City of                                           3.241           $700.06                                                           $700.06
207   Great Plains Natural Gas Co                                     3.243             $96.37      71         04/10/2017            $80.50              $80.50
208   Hays, City of                                                   3.258             $36.78                                                           $36.78
209   Idaho Falls, City of                                            3.274           $376.77                                                           $376.77
210   Idaho Power Corporation                                         3.275           $849.82                                                           $849.82
211   Indiana American Water                                          3.277             $43.22      54         04/03/2017            $24.31              $24.31
212   Indiana Michigan Power                                          3.278          $1,058.04                                                        $1,058.04
213   Intermountain Gas Co.                                           3.280           $162.18       69         04/10/2017           $230.80             $230.80
214   Janesville Water & Waste                                        3.286             $93.72                                                           $93.72
215   Johnson City Power Board                                        3.304           $589.51                                                           $589.51
216   Johnson City Utility                                            3.305             $13.73                                                           $13.73
217   Kennewick, City of                                              3.320           $134.81                                                           $134.81
218   KCPL Greater Missouri Corporation Inc.                          3.317           $374.59       32         03/27/2017           $555.65             $555.65
219   Lincoln Electric System                                         3.337           $470.68                                                           $470.68
220   Logan, City of                                                  3.341           $281.48                                                           $281.48
221   Madison Gas and Electric                                        3.346           $421.46                                                           $421.46
222   Mid-America Asset Management                                    3.368           $245.14                                                           $245.14
223   Mid-Nebraska Disposal                                           3.369             $91.90                                                           $91.90
224   MidAmerican Energy Company                                      3.370           $809.74       4          03/17/2017           $917.07             $917.07
225   Midwest Energy Inc                                              3.372           $822.27       59         04/03/2017           $829.26             $829.26
226   Willmar Municipal Utility                                       3.376           $343.42                                                           $343.42
227   Minnesota Energy Resources                                      3.377           $506.58                                                           $506.58
228   Mon Power                                                       3.380          $1,219.50                                                        $1,219.50
229   Montgomery County Environmental Services                        3.382             $75.19     241         06/14/2017           $101.82             $101.82
230   Muncie Sanitary District                                        3.390             $22.38                                                           $22.38
231   Municipal Light and Water                                       3.391           $169.89                                                           $169.89
232   Murfreesboro Electric Dept.                                     3.392           $492.43       20         03/20/2017            $65.37              $65.37
233   Nebraska Public Power District                                  3.399          $1,166.87                                                        $1,166.87
234   North Dakota Recycling Services, LLC                            3.412             $20.00                                                           $20.00
235   Northern Electric Coop                                          3.413           $436.13                                                           $436.13
236   Northern States Power Company, a Wisconsin                      3.642           $489.27       19         03/20/2017           $489.27             $489.27
      Corporation, d/b/a Xcel Energy
237   O'Fallon Water & Sewer                                          3.149             $19.69                                                           $19.69
238   Otter Tail Power Company                                        3.436          $1,065.86      36         03/28/2017         $1,062.03           $1,062.03
239   Pederson Sanitation Corp                                        3.442             $53.50                                                           $53.50
240   Pellitteri Waste Systems                                        3.443             $78.54                                                           $78.54
241   Public Service of Colorado A Colorado Corp DBA Xcel             3.642          $4,445.99      1          03/13/2017           $381.10             $381.10
      Energy
242   Public Utility Commission                                       3.469           $435.30                                                           $435.30
243   Questar Gas Company                                             3.470             $18.16      11         03/13/2017            $18.94              $18.94
244   Rocky Mountain Power                                            3.488          $1,409.54                                                        $1,409.54
245   Scottsbluff, City of                                            3.504           $888.47                                                           $888.47
246   SEMCO Energy                                                    3.509           $103.37       13         03/17/2017           $103.37             $103.37
247   SEMCO Energy Gas Co                                             3.509           $103.37       58         03/30/2017           $135.55             $135.55
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                                    Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                       (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                               SCHEDULE E/F                        PROOF OF                                       ALLOWED CLAIM
  NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                CREDITOR #                         CLAIM NO.                                         AMOUNT


  248   St. Cloud, City of                                             3.536              $25.55                                                          $25.55
  249   Sterling Heights, City of                                      3.558              $80.81                                                          $80.81
  250   Terre Haute, City of                                           3.581              $26.87                                                          $26.87
  251   The Energy Cooperative                                         3.585              $60.00                                                          $60.00
  252   United Telephone Company of Ohio dba CenturyLink                                              77         04/10/2017           $500.39            $500.39

  253   United Telephone Company of the West - NE dba                  3.123              $76.51      75         04/10/2017            $76.91             $76.91
        CenturyLink
  254   United Telephone Southeast - TN dba CenturyLink                3.124             $114.48      76         04/10/2017            $87.77             $87.77

 255 Vectren Energy Delivery                                           3.604            $160.87                                                           $160.87
 256 Vectren Energy Delivery                                           3.605              $88.94                                                           $88.94
 257 Verendrye Electric Coop                                           3.606            $261.44                                                           $261.44
 258 Vienna, City of                                                   3.609              $13.57                                                           $13.57
 259 Watertown Municipal Utilities                                     3.620            $405.17      235         06/08/2017           $501.49             $501.49
 260 WE Energies                                                       3.623           $1,063.71                                                        $1,063.71
 261 Williston, City of                                                3.633              $34.40                                                           $34.40
 262 Wisconsin Public Service Corporation                              3.637            $817.20      268         05/22/2017           $614.66             $614.66
 263 Youngstown Water                                                  3.644              $29.87                                                           $29.87
MERCHANTS, SERVICE PROVIDERS, AND MISC.
 264 1st Choice Electric Inc.                                             3.4           $270.00                                                           $270.00
 265 1st Choice Lock & Security LLC                                       3.5           $325.20       74         04/11/2017           $325.20             $325.20
 266 A & A Landscape                                                      3.7           $570.00                                                           $570.00
 267 A & G Electric Company                                               3.8           $183.51                                                           $183.51
 268 A.C. Klopf, Inc.                                                   3.11            $410.00                                                           $410.00
 269 A.T. Klemens                                                       3.13            $124.00                                                           $124.00
 270 A-1 Lock & Key                                                       3.9             $86.51                                                           $86.51
 271 A-1 Sign Co.                                                       3.10            $208.61                                                           $208.61
 272 AAA Heating & Sheet Metal                                          3.14            $130.00                                                           $130.00
 273 Aaron Parker                                                      3.440            $172.38                                                           $172.38
 274 ABM Building Services                                              3.15            $104.50                                                           $104.50
 275 AC3 Building Maintenance                                           3.16              $20.00                                                           $20.00
 276 Accucool Inc.                                                      3.17            $196.84                                                           $196.84
 277 Acorn Electrical                                                   3.18            $200.00                                                           $200.00
 278 Advanced Comfort                                                   3.21            $125.00                                                           $125.00
 279 Advanced Contracting                                               3.20            $260.00                                                           $260.00
 280 Advanced Heating & Air                                             3.22            $138.24                                                           $138.24
 281 Affordable Repair Service                                          3.23            $756.00                                                           $756.00
 282 AG Cleaning Services                                               3.25              $90.00                                                           $90.00
 283 Air Controls Billings                                              3.26            $700.19                                                           $700.19
 284 Aire Serv of Longview                                              3.28            $311.56                                                           $311.56
 285 AJ Sheet Metal, Inc.                                               3.29            $211.32       15         03/17/2017           $211.32             $211.32
 286 Alliant Energy                                                     3.32            $739.08                                                           $739.08
 287 Allied Restaurant Service                                          3.33            $133.75                                                           $133.75
 288 Ames Lock & Security                                               3.40            $123.05                                                           $123.05
 289 Amplitel Technologies                                              3.43            $203.11                                                           $203.11
 290 Anchor Safety, Inc.                                                3.44              $47.36                                                           $47.36
 291 Andor, Inc.                                                        3.46            $114.79                                                           $114.79
 292 Appollo Heating and Air Conditioning                               3.48           $1,467.45                                                        $1,467.45
 293 Ask About Windows                                                  3.54              $38.00                                                           $38.00
 294 AT&T - Atlanta, GA                                                 3.55            $504.08                                                           $504.08
 295 AT&T - Atlanta, GA                                                 3.58            $738.55                                                           $738.55
 296 AT&T - Carol Stream, IL                                            3.56            $525.55                                                           $525.55
 297 AT&T - Carol Stream, IL                                            3.57            $772.94                                                           $772.94
 298 Auman Company, Inc.                                                3.60            $119.63                                                           $119.63
 299 Batner Pest Control, Inc.                                          3.64              $19.00                                                           $19.00
 300 Bekins Fire & Safety                                               3.68              $40.13                                                           $40.13
 301 Believe Electricians & Equipment Co.                               3.69            $532.43                                                           $532.43
 302 Big Creek Crossing                                                 3.75              $27.00                                                           $27.00
 303 Biss Lock, Inc.                                                    3.78            $218.82                                                           $218.82
 304 Bob Smith Window Cleaning                                          3.83               $7.34                                                            $7.34
 305 Bolton Construction                                                3.85            $190.10       93         04/17/2017           $190.10             $190.10
 306 Boothill Corporation                                                                            279         06/26/2017           $614.55             $614.55
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                                       (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                               SCHEDULE E/F                       PROOF OF                                       ALLOWED CLAIM
NO.                       CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                CREDITOR #                        CLAIM NO.                                         AMOUNT


307   Brekke Mechanical                                                 3.89             $28.19                                                           $28.19
308   Brite Way of the Illinois Valley                                  3.90             $24.00                                                           $24.00
309   Brite Way Professional Window Cleaning                            3.91             $38.52                                                           $38.52
310   Brite-Way Professional Window Cleaning                            3.92             $64.20                                                           $64.20
311   Brite-Way Window Cleaning, Inc.                                   3.93           $208.00       64         03/30/2017           $208.00             $208.00
312   Brite-Way Window Cleaning, Inc.                                   3.94             $70.00                                                           $70.00
313   Brite-Way Window Service                                          3.95             $31.00                                                           $31.00
314   Brite-Way Window Service                                          3.96             $15.00                                                           $15.00
315   Callabresi Heating & Cooling                                     3.102           $106.25                                                           $106.25
316   Cannizzo Electric Inc.                                           3.105           $359.00                                                           $359.00
317   Carlson JPM Store Fixtures                                       3.108           $446.04                                                           $446.04
318   CE Mitchell + Sons                                               3.113           $150.00      202         04/24/2017           $150.00             $150.00
319   Central Fire & Safety                                            3.116             $23.54                                                           $23.54
320   Central Heating & Air Conditioning Co.                           3.117           $105.00                                                           $105.00
321   Chapman's Mechanical                                             3.127           $205.70                                                           $205.70
322   Chappell Central Inc.                                            3.128           $159.82                                                           $159.82
323   Chioda Quality Window Cleaning                                   3.130             $80.00                                                           $80.00
324   Chitty Garbage Service                                           3.131           $317.79                                                           $317.79
325   Cintas Fire Protection                                           3.133           $107.92                                                           $107.92
326   Citywide Window Services                                         3.140             $60.04                                                           $60.04
327   Clear View Window                                                3.143             $30.00                                                           $30.00
328   Clearview Window Washing                                         3.144           $105.00                                                           $105.00
329   Cochran Construction                                             3.145           $113.70                                                           $113.70
330   Comfort Systems USA                                              3.148           $133.00                                                           $133.00
331   Commercial Air & Electric                                        3.149           $140.00                                                           $140.00
332   Consolidated Communications                                      3.150             $85.88                                                           $85.88
333   Cooper Consulting & Pro Mgmt Inc.                                3.153          $1,162.20     104         04/10/2017         $1,162.20           $1,162.20
334   Corporate Mall Services                                          3.154             $97.00                                                           $97.00
335   Countwise                                                        3.156           $922.50                                                           $922.50
336   CR Lighting & Electric                                           3.157             $94.80                                                           $94.80
337   Crossby Brownlie Inc.                                            3.159           $222.48                                                           $222.48
338   Crystal Clear Cleaning                                           3.160             $60.00                                                           $60.00
339   Curt's Lock & Key Service                                        3.161           $219.33                                                           $219.33
340   Dakota Fire Extinguishers                                        3.163             $35.98                                                           $35.98
341   Damian Reiten Construction Inc.                                  3.165           $375.00                                                           $375.00
342   Dayspring Window Cleaning                                        3.167             $32.38                                                           $32.38
343   Deluxe Business Forms                                            3.170             $62.69                                                           $62.69
344   Dependable Sanitation                                            3.171             $70.78                                                           $70.78
345   Dermer Refrigeration, Inc.                                       3.172             $54.00                                                           $54.00
346   Diesel Dogs Trucking, LLC                                        3.175           $237.50                                                           $237.50
347   Doctor Door                                                      3.178           $240.00       97         04/20/2017           $240.00             $240.00
348   Don Slagter                                                      3.524           $265.00                                                           $265.00
349   Doug Jenings                                                     3.291             $25.00                                                           $25.00
350   Dunn Electrical Service                                          3.188           $155.95                                                           $155.95
351   E and H Enterprises of Alexandria, Inc                            3.19             $82.38      5          03/17/2017            $82.38              $82.38
352   Edwards Electrical & Mechanical                                  3.194           $400.00                                                           $400.00
353   Ensley Electrical Services                                       3.198           $313.48                                                           $313.48
354   Epoch                                                            3.199           $980.00                                                           $980.00
355   Escon Group                                                      3.200           $250.25                                                           $250.25
356   Executive Electric                                               3.201           $425.00                                                           $425.00
357   Fargo Vacuum Sales & Service                                     3.204           $273.03      119         05/01/2017           $273.03             $273.03
358   # Fashion Place, LLC                                              2.1*            $619.56     158          5/10/2017           $619.56             $619.56
359   Ficek Electric & Communication System                            3.208           $236.93                                                           $236.93
360   Fiddelke Heating & Air Conditioning, Inc.                        3.209           $117.70                                                           $117.70
361   Fineline Technologies Inc.                                       3.210           $232.11                                                           $232.11
362   Fire & Safety Equip III                                          3.212             $38.50                                                           $38.50
363   Fire Protection Specialist, LLC                                  3.213             $40.09                                                           $40.09
364   Fire Suppression Services                                        3.214             $37.80                                                           $37.80
365   Fireguard Inc.                                                   3.215           $103.00                                                           $103.00
366   Fish Window Cleaning                                             3.216             $63.00                                                           $63.00
367   Fish Window Cleaning                                             3.217             $27.82                                                           $27.82
368   Fish Window Cleaning                                             3.218             $13.91                                                           $13.91
369   Fish Window Cleaning                                             3.219             $20.00      26          3/22/2017            $20.00              $20.00
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NO.                       CREDITOR NAME                                         SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                 CREDITOR #                        CLAIM NO.                                         AMOUNT


370   Foley Electric Inc                                                3.220           $316.00                                                          $316.00
371   Fortney Refrigeration                                             3.223           $199.99                                                          $199.99
372   Freedom Electric Inc.                                             3.225           $106.05                                                          $106.05
373   Frontier                                                          3.226           $668.50                                                          $668.50
374   Gary's Sewer & Drain                                              3.228           $100.00                                                          $100.00
375   General Repair Service Co                                         3.231           $200.00                                                          $200.00
376   Gering Valley Plumbing                                            3.233           $150.00                                                          $150.00
377   GMPC LLC                                                          3.236           $529.20                                                          $529.20
378   Global Gold, Inc. (Golden Touch)                                  3.237          $2,333.73     327         07/17/2017           $598.89            $598.89
379   Gonzales Contractors, LLC                                         3.239           $500.00                                                          $500.00
380   Goyette Mechanical                                                3.240           $735.00                                                          $735.00
381   Granite Telecommunications                                        3.242           $156.24                                                          $156.24
382   Greeley Lock and Key                                              3.244           $173.10      232         06/05/2017           $178.11            $178.11
383   Grunau Company                                                    3.245             $80.44                                                          $80.44
384   H. E. Neumann Company                                             3.249           $196.10      322         07/06/2017           $832.10            $196.10
385   Harrell-Fish Inc                                                  3.253           $175.00                                                          $175.00
386   Harvest Heating & Air Conditioning                                3.256           $188.50                                                          $188.50
387   Herman H. Moenkedick                                              3.379             $75.16                                                          $75.16
388   Hickory Tech                                                      3.264             $70.02                                                          $70.02
389   Hindman/Person Heating & Air Conditioning                         3.265             $90.95                                                          $90.95
390   Horton Electric Service                                           3.268           $208.47                                                          $208.47
391   Hovland's Inc                                                     3.269           $150.87                                                          $150.87
392   Howie's Trash Service                                             3.270             $94.96                                                          $94.96
393   Hullinger Glass & Locks                                           3.271             $90.42                                                          $90.42
394   Integrated Facility Solutions                                     3.279           $537.30                                                          $537.30
395   J. F. Ahern Co.                                                   3.283           $258.50       68         04/07/2017           $258.50            $258.50
396   James Kelly's Home Improvements                                   3.285           $729.74                                                          $729.74
397   JB's Handyman Service                                             3.288             $75.88                                                          $75.88
398   JC Security LLC                                                   3.289           $165.90      219         05/25/2017           $717.15            $165.90
399   JDS Mechanical Inc.                                               3.290           $142.50                                                          $142.50
400   Jensen's Handyman & Remodeling                                    3.293           $236.73                                                          $236.73
401   Jetter Clean, Inc.                                                3.294           $150.00                                                          $150.00
402   J-N-T Security Services                                           3.282             $40.50                                                          $40.50
403   John's Great American Window Cleaning Co.                         3.302             $44.00                                                          $44.00
404   John's Heating & A/C                                              3.303           $211.00                                                          $211.00
405   K.C. Electric Supply                                              3.311           $260.91                                                          $260.91
406   Kalins Indoor Comfort Inc.                                        3.312           $246.23                                                            $0.00
407   Kanndo Professional Services                                      3.313           $117.70       35         03/28/2017           $117.70            $117.70
408   Kevin's Unlimited Service Company                                 3.321             $16.25                                                          $16.25
409   Kimbro Mechanical                                                 3.322           $162.50                                                          $162.50
410   Kucera Plumbing, Heating, Cooling and Sheet Metal LLC             3.326           $240.33       33         03/27/2017           $240.33            $240.33
411   KW Electric Inc.                                                  3.328           $979.19                                                           $979.19
412   Kyle J. Sandy                                                     3.329           $240.00       41         03/30/2017           $240.00             $240.00
413   Larry's Window Service                                            3.330             $34.98                                                           $34.98
414   Larsen Property Services                                          3.331           $358.02                                                           $358.02
415   Limeblue                                                          3.336          $1,378.27                                                        $1,378.27
416   Lindsay Crystal                                                   3.338           $153.20                                                           $153.20
417   Literati Information                                              3.339           $148.40                                                           $148.40
418   Lloyd's Window Washing                                            3.340             $96.00                                                           $96.00
419   Love By Design By Design L.L.C.                                   3.342           $176.40                                                           $176.40
420   Luckinbill Inc.                                                   3.334           $210.00      234         06/07/2017           $213.15             $213.15
421   Malbrit Mechanical Inc.                                           3.350             $90.00                                                           $90.00
422   Manhattan Town Center                                             3.352           $350.00                                                           $350.00
423   Marc Brick Inc                                                    3.354           $257.80                                                           $257.80
424   Master Electric, Inc                                              3.356           $232.00                                                           $232.00
425   Mathison's                                                        3.357           $334.71                                                           $334.71
426   Maxsent                                                           3.358           $183.03                                                           $183.03
427   MC Electric, Inc.                                                 3.360           $391.65                                                           $391.65
428   Meister Electric Inc.                                             3.364             $82.00                                                           $82.00
429   Metro Waste Services Co                                           3.366             $68.57                                                           $68.57
430   Mike's Lock & Key Service                                         3.373           $124.00                                                           $124.00
431   Miller Window Service                                             3.374             $65.27     114         04/27/2017            $65.27              $65.27
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                                   Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                       PROOF OF                                       ALLOWED CLAIM
NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                        CLAIM NO.                                         AMOUNT


432   Minnkota                                                        3.378           $209.87                                                           $209.87
433   Mount's Lock & Key Inc.                                         3.386             $90.00                                                           $90.00
434   Mr. Handyman                                                    3.387           $324.00                                                           $324.00
435   Mr. Squeegee                                                    3.388             $72.00                                                           $72.00
436   Muth Electric Inc.                                              3.394          $1,252.69                                                        $1,252.69
437   National Security Consultant                                    3.397           $101.81                                                           $101.81
438   Naylor Heating and Refrigeration                                3.398             $95.44      66         04/05/2017            $95.44              $95.44
439   Nebraska Safety and Fire Equipment, Inc.                        3.400             $32.10                                                           $32.10
440   Neighborhood Services                                           3.401             $75.00                                                           $75.00
441   Nemont                                                          3.406             $98.29                                                           $98.29
442   No Streaking                                                    3.410           $105.44                                                           $105.44
443   Noble Locksmith Service                                         3.411             $69.00                                                           $69.00
444   Northern Lakes Window Cleaning                                  3.414             $29.92                                                           $29.92
445   Northwestern Ohio Security Systems, Inc.                        3.416           $119.93                                                           $119.93
446   Northwoods Construction of the Iron Range, Inc.                 3.417           $328.00                                                           $328.00
447   O'Donnell Corporation                                           3.418           $435.00                                                           $435.00
448   Oliver Tri County Heating & Air, Inc.                           3.423           $168.50                                                           $168.50
449   Olympic IV Mall Services                                        3.424           $106.25                                                           $106.25
450   Olympic Mall Services                                           3.425           $111.38                                                           $111.38
451   Oneida Realty Company                                           3.427             $10.84                                                           $10.84
452   Orkin                                                           3.430           $125.00                                                           $125.00
453   Orkin Pest Control                                              3.431             $88.00                                                           $88.00
454   Orkin, Inc.                                                     3.432             $57.97                                                           $57.97
455   Orkin, Inc.                                                     3.433           $106.58                                                           $106.58
456   Orkin, Inc.                                                     3.434             $55.00                                                           $55.00
457   Osteen & Lemmons                                                3.435           $201.20                                                           $201.20
458   Overhead Door Company of Webster County                         3.437          $1,049.00                                                        $1,049.00
459   Peopleready Inc.                                                3.444           $552.61                                                           $552.61
460   Penn Square Mall LLC                                             2.1*            $267.81     125           5/2/2017           $267.81             $267.81
461   Pestbusters, Inc.                                               3.448             $48.15                                                           $48.15
462   Peters Heating and Air Conditioning Inc.                        3.449           $175.00                                                           $175.00
463   Pioneer Sewer & Drain                                           3.451           $140.00                                                           $140.00
464   Pither Plumbing                                                 3.452           $261.23                                                           $261.23
465   Plumbing Perfection, Inc.                                       3.453           $166.26                                                           $166.26
466   Pop-A-Lock of Tri Cities                                        3.456             $56.94                                                           $56.94
467   Popular Basics                                                  3.457           $574.23                                                           $574.23
468   Precise Filter Service                                          3.460           $195.68                                                           $195.68
469   Precision Glass LLC                                             3.461             $65.00                                                           $65.00
470   Precision Locksmithing                                          3.462           $109.72                                                           $109.72
471   Premier Mechanical                                              3.464           $276.00                                                           $276.00
472   Presto-X                                                        3.465             $46.43                                                           $46.43
473   Professional Fire                                               3.466             $23.93                                                           $23.93
474   Proshield Fire & Security                                       3.468           $203.73                                                           $203.73
475   R&R Window Washing Service                                      3.472             $53.50                                                           $53.50
476   R/S Electric Construction                                       3.473          $1,099.67                                                        $1,099.67
477   Ralph's Electric Inc                                            3.474           $114.32                                                           $114.32
478   Randy's Window Cleaning                                         3.475              $5.00                                                            $5.00
479   Rapid Garage Door & Awning                                      3.476           $309.95                                                           $309.95
480   Reliable Pest Solutions                                         3.477             $43.91                                                           $43.91
481   Richards Heating and Cooling                                    3.481             $84.00      62         04/03/2017            $84.00              $84.00
482   Robards Pest Control                                            3.482             $19.42                                                           $19.42
483   Robert's Plumbing and Heating Inc.                              3.484             $60.00                                                           $60.00
484   Robinson Electric                                               3.486           $115.00                                                           $115.00
485   Rockford Heating & Air Conditioning                             3.487           $160.75                                                           $160.75
486   Ron Lepic                                                       3.334             $50.00                                                           $50.00
487   Roth Bros., Inc.                                                3.491             $95.00                                                           $95.00
488   Runyon Lock Service                                             3.493             $77.04                                                           $77.04
489   Ryder Truck Rental, Inc.                                        3.494           $134.12      314         07/01/2017           $134.12             $134.12
490   S.V.J. Electric Co., Inc.                                       3.495           $125.70                                                           $125.70
491   Sammy Phillips Electric                                         3.498           $154.79                                                           $154.79
492   Schwickerts Tecta America, LLC                                  3.502           $302.06       30         03/27/2017           $302.06             $302.06
493   SCR Inc.                                                        3.505           $211.99                                                           $211.99
494   Sean's Window Cleaning                                          3.506             $64.65                                                           $64.65
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                                     Class 2 - Convenience Class - General Unsecured Claims under $1,500
                                         (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                                 SCHEDULE E/F                       PROOF OF                                       ALLOWED CLAIM
  NO.                       CREDITOR NAME                                        SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                  CREDITOR #                        CLAIM NO.                                         AMOUNT


  495    Service Cleaning Midtown LLC                                    3.510             $60.00                                                          $60.00
  496    Service Experts                                                 3.511             $69.00                                                          $69.00
  497    Service Specialists, Inc.                                       3.512            $301.47                                                         $301.47
  498    Sheet Metal Specialties                                         3.516            $140.00                                                         $140.00
  499    Shortprinter.com                                                3.518             $66.65                                                          $66.65
  500    SimplexGrinnell                                                 3.522             $72.50     273         06/22/2017            $72.50             $72.50
  501    Smithereen Pest                                                 3.527             $36.00                                                          $36.00
  502    Snell Services Inc.                                             3.528            $630.58                                                         $630.58
  503    Source Refrigeration & HVAC, Inc.                               3.532            $238.61                                                         $238.61
  504    Southwest Pesticide, Inc.                                       3.533             $92.36                                                          $92.36
  505    Spearmint Airmasters, Inc. d/b/a/ Airmasters HVAC/R              3.27            $240.00     296         06/29/2017           $240.00            $240.00
         and Sheet Metal
  506    SRT                                                             3.535             $90.51                                                          $90.51
  507    Staff Electric Co Inc.                                          3.537            $737.98                                                         $737.98
  508    Sturm Heating & Air Conditioning                                3.564            $138.59                                                         $138.59
  509    Suburban Electrical/ Engineers, Inc                             3.565            $293.01     270         06/08/2017           $293.01            $293.01
  510    Summit Companies                                                3.566             $45.00     236         06/09/2017            $45.00             $45.00
  511    Superior Mechanical                                             3.568            $532.00                                                         $532.00
  512    Swiftair                                                        3.571            $684.01                                                         $684.01
  513    T&M Electric Inc.                                               3.573            $309.09                                                         $309.09
  514    T.H. Eifert                                                     3.574            $306.25     240         06/14/2017           $306.25            $306.25
  515    TEC Electric Company                                            3.576            $187.50                                                         $187.50
  516    Temp Right Service Inc.                                         3.577             $99.00                                                          $99.00
  517    Temperature Pros, LLC                                           3.576            $105.00                                                         $105.00
  518    Terminix Processing Center                                      3.580            $135.31                                                         $135.31
  519    Terry's Heating & Air Conditioning                              3.582             $48.94                                                          $48.94
  520    The Steritech Group Inc.                                        3.587             $85.00                                                          $85.00
  521    The Window Washers                                              3.588             $64.00                                                          $64.00
  522    Thorne Plumbing, Heating, Air Conditioning Inc.                 3.590            $128.72                                                         $128.72
  523    Total Clean Window                                              3.592             $20.00                                                          $20.00
  524    Town and Country Electric                                       3.593             $91.80                                                          $91.80
  525    Tri-State Fire Extinguisher Company                             3.594             $66.33                                                          $66.33
  526    Ty the Window Guy                                               3.595             $80.00                                                          $80.00
  527    Uline                                                           3.596            $457.95                                                         $457.95
  528    United Team Mechanical                                          3.598            $276.00                                                         $276.00
  529    Van Ert Electric Company                                        3.600            $186.95                                                         $186.95
  530    Vanenk Electric, Inc.                                           3.602            $673.55                                                         $673.55
  531    Vector Security, Inc.                                           3.603             $52.06                                                          $52.06
  532    Verizon                                                         3.608             $68.72                                                          $68.72
  533    Village of Greendale                                            3.610             $35.00                                                          $35.00
  534    Volar Fashion                                                   3.611          $1,423.80                                                       $1,423.80
  535    W.J. Leasea Electric, Inc.                                      3.612            $161.48                                                         $161.48
  536    Waldinger Corporation                                           3.613            $622.98                                                         $622.98
  537    Wash Away All                                                   3.616            $256.20                                                         $256.20
  538    Washed White                                                    3.617             $47.08                                                          $47.08
  539    We Do Windows                                                   3.622             $60.00                                                          $60.00
  540    West Central Sanitation                                         3.624            $255.74                                                         $255.74
  541    Western Wyoming Lock                                            3.627            $145.25                                                         $145.25
  542    Williams General Construction                                   3.631            $206.43                                                         $206.43
  543    Williams Mechanical                                             3.632            $541.19                                                         $541.19
  544    Window Cleaning and Janitorial Service                          3.635             $50.00                                                          $50.00
  545    Windstream                                                      3.636            $244.60                                                         $244.60
  546    Woodman Refrigeration, Inc.                                     3.638            $123.77                                                         $123.77
  547    Woods Electrical Contractors Inc.                               3.639            $292.50                                                         $292.50
  548    WSC White Service Company                                       3.641            $135.31                                                         $135.31
TOTAL:                                                                                $106,744.18                                   $24,220.33        $105,641.14
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                                  EXHIBIT C

                   (Class 3 - Effective Date Unsecured Claims)
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                                                   Class 3 - Effective Date Unsecured Claims
                                                     SCHEDULE E/F                       PROOF OF                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                               SCHEDULED AMOUNT                DATE POC FILED   POC CLAIM AMOUNT                     STORE #
                                                      CREDITOR #                        CLAIM NO.                                            AMOUNT
LANDLORDS AND MALLS - CBL
  1 Ashville Mall CMBS LLC                              2.1*                $4,958.33     181          5/15/2017             $69,416.66       $4,958.33    218
  2 Brookfield Square Joint Venture                     2.1*                $5,833.33     194          5/15/2017            $105,688.33       $5,833.33    207
  3 Burnsville Center SPE LLC                           2.1*                $6,400.28     192          5/15/2017             $83,203.64       $6,400.28    213
  4 CBL/Monroeville LP                                  2.1*                $6,629.53     175          5/15/2017             $86,183.89       $6,629.53    181
  5 Cherryvale Mall LLC                                 2.1*                $4,750.00     188          5/15/2017             $62,170.00       $4,750.00    143
  6 Dakota Square Mall CMBS LLC                         2.1*               $16,904.34     187          5/15/2017            $142,926.42      $16,247.34     26
  7 # Fashon Square Mall CMBC LLC                       2.1*               $12,256.44                                                        $12,256.44     84
  8 Frontier Mall Assoc. LP                             2.1*                $6,713.53     186          5/15/2017             $84,274.43       $6,713.53    129
  9 Honey Creek Mall LLC                                2.1*               $15,739.89     190          5/15/2017            $130,255.00      $15,739.89    271
 10 Janesville Mall LP                                  2.1*                $4,583.33     191          5/15/2017             $59,583.33       $4,583.33    46
 11 JG Winston-Salem LLC                                2.1*                $8,496.08     183          5/15/2017            $110,539.12       $8,496.08    219
 12 Kirkwood Mall Acquisition LLC                       2.1*               $11,063.22     193          5/15/2017             $80,506.22      $10,569.53     4
 13 Layton Hills Mall CMBS LLC                          2.1*                $7,945.38     171          5/15/2017             $21,858.18       $7,945.38    94
 14 Madison/East Towne LLC                              2.1*                $9,041.67     189          5/15/2017            $121,063.08       $9,041.67    98
 15 Meridian Mall LP                                    2.1*                $6,464.28     182          5/15/2017             $66,287.23       $6,011.14    96
 16 Mid Rivers Mall CMBS LLC                            2.1*                $4,770.25     172          5/15/2017             $63,255.37       $4,770.25    234
 17 Northpark Mall/Joplin LLC                           2.1*               $12,711.74     174          5/15/2017             $52,338.56      $12,711.74    236
 18 Parkdale Crossing CMBS LLC                          2.1*               $15,330.94     184          5/15/2017            $178,342.69      $15,330.94    174
 19 South County Shoppingtown LLC                       2.1*               $10,794.70     180          5/15/2017             $19,747.98      $10,794.70    235
 20 St. Clair Square SPE LLC                            2.1*                $4,687.50     178          5/15/2017             $60,937.50       $4,687.50    141
LANDLORDS AND MALLS - GGP
 21 Apache Mall LLC                                     2.1*               $22,684.06     161          5/10/2017            $383,010.53      $22,684.06    220
 22 Boise Mall LLC                                      2.1*               $13,744.90     163          5/10/2017            $178,473.78      $13,744.90     74
 23 Columbia Mall LLC                                   2.1*                $6,667.50     159          5/10/2017            $102,472.80       $5,217.72    232
 24 Florence Mall LLC                                   2.1*               $13,127.61     156          5/10/2017            $118,054.77      $13,127.61    148
 25 GGP-Four Seasons LP                                 2.1*                $8,151.08     154          5/10/2017             $87,500.50       $6,761.50    217
 26 GGP-Glenbrook LLC                                   2.1*                $1,783.08     144          5/10/2017             $43,303.03       $1,783.08    108
 27 GGP-Grandville LLC                                  2.1*                $8,689.61     153          5/10/2017            $140,626.84       $8,689.61    80
 28 Grand Teton Mall LLC                                2.1*               $13,393.03     145          5/10/2017            $126,696.70      $13,393.03    71
 29 Greenwood Mall LLC                                  2.1*               $14,917.20     142          5/10/2017            $190,474.44      $14,917.20    92
 30 Jordan Creek Town Center LLC                        2.1*               $19,484.56     141          5/10/2017            $250,013.57      $18,638.21    73
 31 Lakeside Mall Property LLC                          2.1*                $9,880.46     143          5/10/2017             $79,566.51       $6,806.31    145
 32 North Town Mall LLC                                 2.1*               $20,769.61     150          5/10/2017             $86,181.60      $20,769.61     75
 33 Oak View Mall LLC                                   2.1*               $10,017.80     148          5/10/2017            $128,320.66       $9,870.82    221
 34 Oakwood Hills Mall LLC                              2.1*               $14,772.47     149          5/10/2017            $189,518.99      $14,772.47    104
 35 PDC-Eastridge Mall LLC                              2.1*               $13,356.73     157          5/10/2017            $169,092.49      $13,356.73    128
 36 # Pine Ridge JC, LLC                                2.1*                $4,417.81                                                         $4,417.81     70
 37 River Hills Mall LLC                                2.1*               $15,034.91     147          5/10/2017            $164,814.94      $15,034.91     12
 38 Spokane Mall LLC                                    2.1*               $14,632.26     152          5/10/2017            $192,325.36      $14,632.26     76
 39 St. Cloud Mall LLC                                  2.1*               $24,456.61     160          5/10/2017            $360,884.99      $23,970.38     27
 40 Westroads Mall LLC                                  2.1*                $6,308.33     151          5/10/2017             $69,278.15       $6,208.33     61
LANDLORDS AND MALLS - SIMON PROPERTY GROUP
 41 Battlefield Mall LLC                                2.1*               $15,403.42     124           5/3/2017            $161,056.16      $15,007.64    230
 42 Columbia Mall P'Ship                                2.1*               $15,657.89     128           5/3/2017            $204,931.55      $13,637.52    163
 43 Empire Mall, LLC                                    2.1*               $28,250.45     203          5/18/2017            $373,688.33      $28,250.45     11
 44 Greenwood Park Mall LLC                             2.1*               $17,977.76     123           5/3/2017            $235,760.01      $16,207.17    112
 45 Mall at White Oaks LLC                              2.1*                $9,401.93     121           5/3/2017            $132,188.72       $8,457.59    202
 46 Simon Capital Limited P'Ship                        2.1*               $14,205.80     133           5/3/2017            $183,300.64      $12,831.04    106
 47 Simon Property Group LP                             2.1*               $15,219.47     130           5/3/2017            $199,259.65      $13,723.21      2
 48 Simon Property Group LP                             2.1*                $7,964.38     100          4/20/2017             $99,683.20       $4,110.64    109
 49 Simon Property Group LP                             2.1*               $13,641.23     122           5/3/2017            $118,452.71      $13,141.20    272
 50 Southridge Limited P'Ship                           2.1*                $6,224.49     120           5/3/2017             $68,386.66       $5,421.33     48
 51 SPG Independence Ctr. LLC                           2.1*               $26,059.59     126           5/3/2017            $297,212.35      $25,328.71     54
 52 Woodland Hills Mall LLC                             2.1*                $9,505.23     127           5/3/2017             $41,189.10       $8,656.90    199
LANDLORDS AND MALLS - WASHINGTON PRIME
 53 Dayton Mall II, LLC                                 2.1*                $7,650.33     255          6/16/2017             $66,614.59       $5,077.33    115
 54 Glimcher MJC LLC                                    2.1*                $9,877.22     254          6/16/2017             $22,669.72       $9,877.22     81
 55 Glimcher Northtown Venture LLC                      2.1*               $14,019.07     253          6/16/2017            $180,648.39      $13,678.78    212
 56 Grand Central Parkersburg LLC                       2.1*                $8,830.33     252          6/16/2017             $30,506.12       $8,830.33    183
 57 # Lindale Mall LLC                                  2.1*               $11,184.27     261          6/16/2017             $49,261.73      $11,184.27    137
 58 Mall at Great Lakes LLC                             2.1*                $9,041.67     248          6/16/2017            $117,993.79       $9,041.67     90
 59 Mall at Lima LLC                                    2.1*               $13,791.19     249          6/16/2017             $94,855.75      $13,791.19    116
 60 Mall at Longview, LLC                               2.1*                $6,511.32     110          4/25/2017             $87,415.86       $6,511.32    179
 61 Maplewood Mall LLC                                  2.1*               $12,379.93     250          6/16/2017            $160,939.09      $12,379.93    226
 62 MFC Beavercreek LLC                                 2.1*               $15,625.00     251          6/16/2017             $91,406.25      $15,625.00    114
 63 Morgantown Commons LP                               2.1*               $14,038.23     260          6/16/2017             $82,899.26      $12,724.30    184
 64 Muncie Mall LLC                                     2.1*               $13,985.79     259          6/16/2017            $151,457.68      $11,313.95    110
 65 Northwoods Shopping Center LLC                      2.1*                $8,342.97     256          6/16/2017            $109,883.17       $8,342.97    203
 66 SM Mesa Mall LLC                                    2.1*               $12,154.93     257          6/16/2017             $97,721.66      $12,154.93    167
 67 SM Rushmore Mall LLC                                2.1*               $13,996.42     258          6/16/2017            $181,090.31      $13,996.42     18
 68 Southern Park Mall LLC                              2.1*                $7,500.00     265          6/16/2017            $100,125.00       $7,500.00    117
 69 West Ridge Mall LLC                                 2.1*                $8,034.18     262          6/16/2017            $106,135.14       $8,034.18    255
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                                                                     Class 3 - Effective Date Unsecured Claims
                                                                       SCHEDULE E/F                       PROOF OF                                          ALLOWED CLAIM
 NO.                          CREDITOR NAME                                           SCHEDULED AMOUNT                DATE POC FILED   POC CLAIM AMOUNT                      STORE #
                                                                        CREDITOR #                        CLAIM NO.                                            AMOUNT
LANDLORDS AND MALLS - MISC.
 70 Amarillo Mall LLC                                                     2.1*                $1,414.70     166          5/11/2017             $43,747.99       $1,414.70     171
 71 Birchwood Mall LLC                                                    2.1*                $4,200.52     287          6/26/2017              $4,559.07       $4,200.52     223
 72 C. Michelle Panovich as Court Receiver                                2.1*                $4,583.33     243          6/15/2017             $64,421.29       $4,583.33      51
 73 Central Mall Realty Holding LLC                                       2.1*                $7,719.11     118           5/1/2017            $372,389.29       $7,719.11     251
 74 Colony Square Mall LLC                                                2.1*                $5,967.13     197          5/16/2017             $63,768.24       $5,967.13     152
 75 Conestoga Mall 2002 LLC                                               2.1*                $6,976.17     316           7/1/2017             $88,525.33       $6,976.17      65
 76 Crossroads Mall 1999 LLC                                              2.1*                $4,662.87     317           7/1/2017             $22,300.63       $4,662.87     132
 77 DROP-HT LLC                                                           2.1*                $5,240.53      8           3/17/2017              $2,148.29       $2,148.29      66
 78 Fort Smith Mall LLC                                                   2.1*               $11,299.31     167          5/11/2017            $151,720.41      $11,299.31     210
 79 Frenchtown Square Partnership                                         2.1*               $27,207.26     225           6/2/2017             $22,874.59      $22,874.59     275
 80 Great Plains Clinic Med. Enterpr. LLC                                 2.1*                $5,237.23     140           5/9/2017             $69,563.35       $5,237.23      19
 81 Greeley Mall CO LLC                                                   2.1*                $4,345.50     111          4/25/2017              $4,345.50       $4,345.50     166
 82 Hayes Mall LLC                                                        2.1*                $6,028.63      6           3/17/2017              $5,929.89       $5,929.89     214
 83 Kennedy Mall Ltd                                                      2.1*               $10,968.40     227           6/2/2017             $10,968.40      $10,968.40     138
 84 Macerich South Plains LP                                              2.1*               $11,564.95     310          6/30/2017            $150,477.60      $11,564.95     170
  85 Magic Valley Mall LLC                                                2.1*                $7,506.21     294          6/29/2017             $98,761.72       $7,279.20      72
 86 Newgate Mall Equities LLC                                             2.1*               $14,823.40     319           7/3/2017            $173,440.80      $14,453.40      78
 87 Nodana Petroleum Corp                                                 2.1*               $31,648.88     113          4/27/2017             $29,145.00      $29,145.00      20
 88 North Platte Assoc. LP                                                2.1*                $3,243.59       7          3/17/2017              $3,725.95       $3,243.59      69
 89 NSP LLC                                                               2.1*                $4,492.74      10          3/21/2017              $4,363.94       $4,363.94      68
 90 Ohio Valley Mall Company                                              2.1*               $12,962.40     223           6/2/2017              $8,786.88       $8,786.88     100
 91 PR Valley View LP                                                     2.1*               $14,402.60     107          4/24/2017            $160,312.91       $2,910.72     105
 92 Quincy Mall Inc.                                                      2.1*                $8,856.35      25          3/22/2017              $8,856.35       $8,856.35     147
 93 Rimrock Owner LP                                                      2.1*               $18,299.46     302          6/29/2017            $278,913.46      $18,299.46      15
 94 RPI Turtle Creek Mall LLC                                             2.1*               $10,001.51     286          6/26/2017            $141,602.09      $10,001.51     209
 95 Silver Lake Mall LLC                                                  2.1*                $6,449.94     288          6/26/2017             $86,733.18       $6,449.94      13
 96 Southern Hills Mall LP                                                2.1*               $26,905.51     313          6/30/2017            $403,910.80      $21,164.00      28
 97 Star-West Gateway LLC                                                 2.1*               $13,155.84     301          6/29/2017            $291,138.40      $13,155.84      60
 98 Taubman Auburn Hills Assoc LP                                         2.1*               $28,291.02     169          5/12/2017            $122,570.08      $10,967.20      49
 99 The Marketplace                                                       2.1*                $5,575.00     164          5/10/2017             $55,404.00       $5,575.00     185
 100 Urbanical Manhattan Town Center LLC                                  2.1*               $11,886.89     218          5/24/2017            $142,642.68      $11,886.89     254
 101 # 750 Citadel Drive Holdings, LLC                                    2.1*               $14,640.18                                                        $14,640.18     164
 102 # Aslan III Stones River, L.L.C.                                     2.1*                $5,836.20                                                         $5,836.20      82
 103 # Belt Highway, L.P.                                                 2.1*                $6,602.77                                                         $6,602.77     233
 104 # Bemidji Holdings LLC                                               2.1*                $5,950.99                                                         $5,950.99       9
 105 # Central Square Mall, L.L.C.                                        2.1*               $29,422.26                                                        $29,422.26      32
 106 # Centro Richland LLC                                                2.1*                $5,793.95                                                         $5,793.95     136
 107 # College Square Maill Partners, LLC                                 2.1*               $11,017.86                                                        $11,017.86     131
 108 # Colombia Grand Forks, LLC                                          2.1*               $13,802.14                                                        $13,802.14       3
 109 # Gallatin Mall Group, L.L.C.                                        2.1*                $6,198.33                                                         $6,198.33      16
 110 # Garden City Plaza, LLC                                             2.1*                $4,849.13                                                         $4,849.13     250
 111 # GK Holiday Village, LLC                                            2.1*               $13,305.14                                                        $13,305.14      36
 112 # Hyman Family Trust                                                 2.1*                $4,574.84                                                         $4,574.84      35
 113 # LSREF3 Spartan (Genesee) LLC                                       2.1*               $10,288.11                                                        $10,288.11     276
 114 # Midland Mall LLC                                                   2.1*                $7,757.44                                                         $7,757.44     277
 115 # Oakwood Mall 2001, LLC                                             2.1*                $3,242.68                                                         $3,242.68     190
 116 # Peru GKD Partners, LLC                                             2.1*                $3,408.33                                                         $3,408.33     140
 117 # Quincy Place Holdings, LLC                                         2.1*                $3,726.11                                                         $3,726.11     244
 118 # Rockstep Aberdeen, LLC                                             2.1*                $5,264.61                                                         $5,264.61     111
 119 # Rockstep Scottsbluff LLC                                           2.1*                $2,271.44                                                         $2,271.44      67
 120 # Rockstep Willmar, LLC                                              2.1*                $4,407.57                                                         $4,407.57      10
 121 # Rubloff Tri-State Thunderbird Portfolio, LLC                       2.1*                $3,376.87                                                         $3,376.87      42
 122 # Southgate Mall Associates LLP                                      2.1*               $12,099.91     312          6/30/2017             $51,288.99      $12,099.91     126
 123 # Sunset Mall SPE, LP                                                2.1*                $5,194.81                                                         $5,194.81     173
 124 # Tri-County Mall, LLC                                               2.1*                $2,181.66                                                         $2,181.66     124
 125 # U.S. Bank National Association, as Trustee, as successor in        2.1*                $5,620.61                                                         $5,620.61     133
     interest to Bank of America, N.A
 126 # U.S. Bank NA, as Trustee for the registered holders of J.P.        2.1*                $5,909.74                                                          $5,909.74     77
     Morgan Chase Commercial Mortgage Securities Corp
 127 # Valley West Mall, LLC                                              2.1*                $7,633.33                                                          $7,633.33    245
 128 # Viking Plaza Realty Group LLC                                      2.1*                $5,866.59                                                          $5,866.59     31
 129 # Washington Square Limited Partnership                              2.1*                $3,462.26                                                          $3,462.26     22
 130 # Waterloo Owner LLC                                                 2.1*                $9,595.71                                                          $9,595.71    130
 131 # Watertown Plaza LLC                                                2.1*                $4,265.16                                                          $4,265.16     25
 132 # Westgate Mall Realty Group, LLC                                    2.1*                $7,460.49                                                          $7,460.49      8
 133 # Westland Mall Partners, LLC                                        2.1*                $7,178.29                                                          $7,178.29    139
 134 # Westridge Mall Limited Partnership                                 2.1*                $2,083.14                                                          $2,083.14      7
MERCHANTS, SERVICE PROVIDERS AND MISC.
 135 AFLAC                                                                3.24                $2,074.00                                                         $2,074.00
 136 Alliant Energy                                                       3.31                $2,791.13                                                         $2,791.13
 137 American Solutions for Business                                      3.39                $3,047.76     204        04/24/2017               $3,118.09       $3,118.09
 138 Argo Partners (All Seasons Heating & Cooling)                        3.30               $23,844.00                                                        $23,844.00
 139 Artco Global Group LLC                                               3.52               $11,931.75     29         03/27/2017              $11,926.15      $11,926.15
 140 B.E. Capital Management Fund LP (Finesse Novelty Corp)               3.211               $5,928.21     24         03/21/2017              $16,206.90      $16,206.90
 141 BE Capital Management Fund LP, as assignee of Anfield Apparel        3.47              $248,591.88     292                               $249,841.09     $249,841.09
     Group, Inc.
 142 BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.               3.308              $63,869.33     137        05/08/2017              $80,536.85      $63,869.33
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                                                                       Class 3 - Effective Date Unsecured Claims
                                                                         SCHEDULE E/F                          PROOF OF                                          ALLOWED CLAIM
NO.                            CREDITOR NAME                                               SCHEDULED AMOUNT                DATE POC FILED   POC CLAIM AMOUNT                     STORE #
                                                                          CREDITOR #                           CLAIM NO.                                            AMOUNT
143 Bradford Capital Holding, LP - (Mallory Alexander International         3.351                $138,262.49     237        06/08/2017              $44,132.22      $44,132.22
    Logistics NY L.L.C.)
144 Brown & Saenger                                                         3.97                   $4,603.44                                                         $4,603.44
145 Carmichael International                                                3.109                 $90,641.79                                                        $90,641.79
146 Cavalini Inc. dba Ci Sono                                               3.112                $171,430.98     233           6/6/2017            $177,004.50     $136,642.00
147 Central Temperature Equipment Service Inc.                              3.118                  $2,520.21                                                         $2,520.21
148 Contempo Limited                                                        3.152                 $22,032.05 37 and 340     03/28/2017              $23,519.19      $23,519.19
149 CRJ Solutions                                                           3.158                  $1,955.46                                                         $1,955.46
150 D.L. Morse & Associates, Inc.                                           3.176                $137,033.32     47         04/03/2017              $12,434.40      $12,434.40
151 D.L. Morse & Associates, Inc.                                           3.176                                48         04/03/2017              $15,459.40      $15,459.40
152 D.L. Morse & Associates, Inc.                                           3.176                                49         04/03/2017              $53,154.20      $53,154.20
153 D.L. Morse & Associates, Inc.                                           3.176                                50         04/04/2017               $9,073.62       $9,073.62
154 D.L. Morse & Associates, Inc.                                           3.176                                53         04/03/2017              $46,911.70      $46,911.70
155 Dakota West Contracting                                                 3.164                  $1,525.00                                                         $1,525.00
156 DLA Company, LLC                                                        3.177                 $77,383.00                                                        $77,383.00
157 Ed Grace (S&S Shambaugh)                                                3.495                   $970.00      335         8/18/2017                $970.00         $970.00
158 Edgemine Inc.                                                           3.193                 $70,182.35     198         5/16/2017              $86,166.00      $67,737.50
159 Euler Hermes Agent for Finance One, Inc.                                                                     43          3/31/2017             $107,700.63     $107,700.63
160 Euler Hermes Agent for Project 28 Clothing                              3.467                  $1,896.00     44          3/31/2017               $3,557.50       $1,607.50
161 Euler Hermes N. A. Agent for Active USA Inc.                            3.19                   $2,825.04     45         03/31/2017               $3,060.00       $3,060.00
    Claim 000409289
162 Euler Hermes N.A. (Aimee Lynn)                                           3.42                  $5,285.53     330        07/19/2017               $5,412.00       $5,412.00
163 Euler Hermes N.A. Agent for Bibby Financial Services                     3.88                $185,707.75     277         6/23/2017             $189,895.50     $189,895.50
    (Brand Headquarters, LLC)
164 Euler Hermes N.A. Agent for E.L.I.S. LLC                                3.191                 $60,237.17     199          5/17/2017            $61,496.50      $61,496.50
165 Fantas Eyes Inc.                                                        3.203                 $43,452.63     300          6/30/2017            $48,856.78       $35,588.31
166 Fashion Forms Ce Soir Lingerie Co. Inc.                                 3.206                  $2,565.15                                                         $2,565.15
167 General Information Services                                            3.23                   $3,559.00     168        05/12/2017               $3,615.00       $3,615.00
168 Hana Financial, Inc. (Heart & Hips)                                                                          61         04/03/2017              $17,670.00      $17,670.00
169 Home Heating-Plumbing Air Conditioning Inc                              3.267                  $1,904.50                                                         $1,904.50
170 HYFVE                                                                   3.272                  $2,088.99                                                         $2,088.99
171 Jiangsu GTIG Esen Co., LTD                                              3.295                 $32,591.00                                                        $32,591.00
172 Jiangsu Guotai Huasheng Industrial Co., Ltd.                            3.296                 $95,044.10     206        05/19/2017              $95,206.10      $95,044.10
173 Jiangsu Guotai International Group Guomao Co., Ltd                      3.297                 $59,065.00     207        05/19/2017              $88,714.53      $59,065.00
174 Jjiangsu Sainty Glorious Trade Co., Ltd                                 3.298                 $89,992.20     212        05/23/2017              $89,992.20      $89,992.20
175 Joe Benbasset                                                           3.301                 $24,204.97                                                        $24,204.97
176 Just Julez Inc.                                                         3.309                  $8,367.24      84        04/11/2017               $8,538.00       $8,367.24
177 Justin Miller                                                           3.375                  $6,400.00                                                         $6,400.00
178 Karndean Designflooring                                                 3.314                 $32,293.42                                                        $32,293.42
179 Kash Apparel, LLC                                                       3.315                $109,814.88     305        06/30/2017              $82,300.00      $82,300.00
180 Latitude, LLC                                                                                                51         04/03/2017              $23,500.00      $23,500.00
181 LeVeck Lighting Products and Maintenance                                3.335                  $9,259.75     52         04/03/2017              $10,015.61      $10,015.61
182 Lux Accessories Ltd                                                     3.345                 $14,997.95     266         6/20/2017              $15,622.87       $3,656.25
183 Magnetic Media Online                                                   3.347                 $11,608.44                                                        $11,608.44
184 Majco Apparel Inc.                                                      3.349                 $22,844.78      3         03/15/2017              $22,844.78      $22,844.78
185 Marco Technologies LLC                                             Schedule G - 2.38                         269        05/22/2017             $125,042.55      $41,353.16
186 Midnite Express Incorporated                                            3.371                 $34,288.85     39         03/29/2017              $34,288.85      $34,288.85
187 Milberg Factors, Inc.                                                                                        88         04/13/2017             $132,152.65     $132,152.65
      *Jade Marketing Group, Inc. - $33,612.45
      *Just One - $5,670.00
      *Carole Accessories - $10,030.80
      *Pan Oceanic - $7,846.50
      *KNY Clothing, Inc. dba Lashes - $21,308.50
      *26 International Inc. - $53,684.40
188 Mood Media North America                                                3.383                  $4,690.92     134        05/05/2017               $4,072.15       $4,072.15
189 Motive Enterprise Inc.                                                  3.385                 $29,917.78                                                        $29,917.78
190 Ningbo Seduno Import & Export Co., Ltd.                                 3.409                $134,076.90     211        05/23/2017             $134,076.90     $134,076.90
191 One Step Up                                                             3.426                  $1,822.32                                                         $1,822.23
192 Oracle America, Inc., Successor in Interest to NetSuite (Oracle)        3.428                  $9,811.14     274        06/22/2017               $9,713.89       $9,713.89

193   Orion Fashions Inc.                                                   3.429                 $18,375.99                                                        $18,375.99
194   Palen Kimball, LLC                                                    3.438                  $7,218.00     332          7/28/2017              $8,573.76       $7,218.00
195   PepperJam                                                             3.445                  $5,487.31                                                         $5,487.31
196   Pomeroy IT Solutions Sales Company, Inc.                              3.454                 $39,125.66     291        06/28/2017              $20,948.56      $20,948.56
197   Poof Apparel                                                          3.455                  $9,028.44     205         5/19/2017               $5,220.00       $4,374.00
198   Preference Employment Solutions, Inc.                                 3.463                  $1,845.16                                                         $1,845.16
199   Revere Electric Supply d/b/a Nelson Electric                          3.402                 $58,803.82     96         04/19/2017              $58,334.08      $58,334.08
200   RGIS, LLC                                                             3.478                 $23,851.26     117        05/01/2017              $23,851.26      $23,851.26
201   Rosenthal & Rosenthal, Inc.                                                                                136        05/08/2017              $53,234.00      $53,234.00
       *GMA Accessories, Inc /Capelli - $7,830.00
       *Jodi Kristopher, LLC/City Triangles - $13,496.40
       *Tempted Apparel Corp - $31,907.60
202   RR Donnelley Logistics Services Worldwide Inc.                        3.492                 $15,519.10                                                        $15,519.10
203   Shine Imports                                                         3.517                  $8,749.64                                                         $8,749.64
204   Signorelli, Inc.                                                      3.520                  $4,947.43                                                         $4,947.43
205   SQA & KC International, S.W.                                          3.534                $117,095.32                                                       $117,095.32
206   Star of India                                                         3.540                  $4,611.88                                                         $4,611.88
207   Stoosh                                                                3.560                  $3,240.00                                                         $3,240.00
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                                                                    SCHEDULE E/F                         PROOF OF                                          ALLOWED CLAIM
 NO.                        CREDITOR NAME                                           SCHEDULED AMOUNT                 DATE POC FILED   POC CLAIM AMOUNT                      STORE #
                                                                     CREDITOR #                          CLAIM NO.                                            AMOUNT
208   Stored Value Systems, Inc. a division of Comdata Inc.            3.561                $9,469.45      73         04/10/2017               $9,469.45       $9,469.45
209   Sun Ban Fashions Inc.                                            3.567                $6,245.01      275         6/22/2017               $6,368.90       $2,988.78
210   Suzhou Hengrun Imp & Exp Co                                      3.569               $26,491.80                                                         $26,491.80
211   The CIT Group/Commercial Services, Inc.                                                               38        03/29/2017             $155,608.85     $155,608.85
       *Ballet Group - $61,632.75
       *East Lion Corp - $2,570.40
       *Famma Group, Inc. - $35,915.10
       *IKEDDI Imports - $4,009.00
       *Kash Apparel - $45,676.60
       *Poof Apparel - $4,008.00
       *Stony Apparel - $1,797.00
 212 TRC Master Fund LLC (R.J. Acquisition, d/b/a The Ad Art           3.584               $58,205.43      329        07/17/2017              $58,205.43      $58,205.43
      Company)
 213 TRC Master Fund LLC (Icon Eyewear)                                3.273               $85,334.66                                                         $85,334.66
 214 Tyco Integrated Security, LLC                                                                         60         04/03/2017               $1,664.88       $1,664.88
 215 United Parcel Service, Inc.                                       3.597              $198,803.62      318        07/01/2017             $183,000.00     $183,000.00
 216 Veritiv Operating Co.                                             3.607                $2,365.00      201        05/08/2017               $2,365.00       $2,365.00
 217 UPS Supply Chain Solutions                                        3.599                $3,727.03                                                          $3,727.03
 218 West Coast Trucking, Inc.                                         3.625                $3,005.00                                                          $3,005.00
 219 Westcoast Warehousing LLC                                         3.626                $6,414.75                                                          $6,414.75
 220 Westman Champlin Koehler                                          3.628                $9,012.90                                                          $9,012.90
UTILITY COMPANIES
 221 Ameren Missouri                                                   3.36                 $1,603.34      14         03/17/2017               $1,753.41        $1,753.41
 222 Avista Utilities                                                  3.61                 $1,514.39      320        07/05/2017               $1,631.34        $1,631.34
 223 CenturyLink Communications, LLC f/k/a Qwest Communications        3.119                $1,694.72      70         04/10/2017               $2,000.89        $2,000.89
      Company, LLC
 224 City of Peru                                                      3.137                $1,533.16                                                          $1,533.16
 225 Dayton Power and Light Company                                    3.168                $1,271.67      293        06/28/2017               $2,298.87       $2,298.87
 226 Duke Energy                                                       3.185                $1,695.33                                                          $1,695.33
 227 Mon Power                                                         3.380                $1,219.50      325        07/07/2017               $1,214.95       $1,214.95
 228 Montana-Dakota Utilities Co.                                      3.381                $1,411.65      83         04/10/2017               $2,336.70       $2,336.70
 229 Northern States Power Company, a Minnesota Corporation,           3.642                $4,445.99      18         03/20/2017              $14,505.46      $14,505.46
      d/b/a Xcel Energy
 230 Northwestern Energy                                               3.415                $1,680.50                                                           $1,680.50
 231 Ohio Edison                                                       3.422                 $944.61       324        07/07/2017                 $251.85          $251.85
 232 Qwest Corporation dba CenturyLink QC                         3.120 and 3.121           $2,684.99      79         04/10/2017               $3,013.29        $3,013.29
 233 The Illuminating Company                                          3.586                 $585.43       326        07/07/2017                 $280.57          $280.57
 234 Waste Management                                             3.618 and 3.619           $3,216.93      230        06/01/2017               $3,228.95        $3,228.95
 235 Wisconsin Power & Light Company                                                                       239        06/12/2017               $3,835.51        $3,835.51
TOTALS:                                                                                  $4,252,751.92                                    $14,416,253.23    $4,519,423.79
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                                              EXHIBIT D

                             (Class 4 - Post-Effective Date Unsecured Claims)




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                                                     Class 4 - Post-Effective Date Unsecured Claims
                                                     SCHEDULE E/F                        PROOF OF CLAIM
  NO.                    CREDITOR NAME                              SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT       DISPUTED CLAIM AMOUNT   STORE NO.
                                                      CREDITOR #                              NO.

LANDLORD AND MALLS: CBL
   1   Ashville Mall CMBS LLC                           2.1*                 $4,958.33        181            5/15/2017           $69,416.66             $64,458.33      218
   2   Brookfield Square Joint Venture                  2.1*                 $5,833.33        194            5/15/2017          $105,688.33             $99,855.00      207
   3   Burnsville Center SPE LLC                        2.1*                 $6,400.28        192            5/15/2017           $83,203.64             $76,803.36      213
   4   CBL/Monroeville LP                               2.1*                 $6,629.53        175            5/15/2017           $86,183.89             $79,554.36      181
   5   Cherryvale Mall LLC                              2.1*                 $4,750.00        188            5/15/2017           $62,170.00             $57,420.00      143
   6   Dakota Square Mall CMBS LLC                      2.1*                     $0.00        185            5/15/2017            $9,451.00              $9,451.00       26
   7   Dakota Square Mall CMBS LLC                      2.1*                $16,904.34        187            5/15/2017          $142,926.42            $126,679.08       26
   8   Frontier Mall Assoc. LP                          2.1*                 $6,713.53        186            5/15/2017           $84,274.43             $77,560.90      129
   9   Honey Creek Mall LLC                             2.1*                $15,739.89        190            5/15/2017          $130,255.00            $114,515.11      271
   10  Janesville Mall LP                               2.1*                 $4,583.33        191            5/15/2017           $59,583.33             $55,000.00       46
   11  JG Winston-Salem LLC                             2.1*                 $8,496.08        183            5/15/2017          $110,539.12            $102,043.04      219
   12  Kirkwood Mall Acquisition LLC                    2.1*                $11,063.22        193            5/15/2017           $80,506.22             $69,936.69       4
   13  Layton Hills Mall CMBS LLC                       2.1*                 $7,945.38        171            5/15/2017           $21,858.18             $13,912.80       94
   14  Madison/East Towne LLC                           2.1*                 $9,041.67        189            5/15/2017          $121,063.08            $112,021.41       98
   15  Meridian Mall LP                                 2.1*                 $6,464.28        182            5/15/2017           $66,287.23             $60,276.09       96
   16  Mid Rivers Mall CMBS LLC                         2.1*                 $4,770.25        172            5/15/2017           $63,255.37             $58,485.12      234
   17  Northpark Mall/Joplin LLC                        2.1*                $12,711.74        174            5/15/2017           $52,338.56             $39,626.82      236
   18  Oak Park Mall LLC                                2.1*                     $0.00        173            5/15/2017          $165,791.30            $165,791.30      249
   19  Parkdale Crossing CMBS LLC                       2.1*                $15,330.94        184            5/15/2017          $178,342.69            $163,011.75      174
   20  South County Shoppingtown LLC                    2.1*                     $0.00        179            5/15/2017          $116,699.77            $116,699.77      235
   21  South County Shoppingtown LLC                    2.1*                $10,794.70        180            5/15/2017           $19,747.98              $8,953.28      235
   22  St. Clair Square SPE LLC                         2.1*                 $4,687.50        178            5/15/2017           $60,937.50             $56,250.00      141
LANDLORD AND MALLS: GGP
   23  Apache Mall LLC                                  2.1*                $22,684.06        161            5/10/2017          $383,010.53            $360,326.47      220
   24  Bellis Fair Mall LLC                             2.1*                                  162            5/10/2017            $1,510.50              $1,510.50       79
   25  Boise Mall LLC                                   2.1*                $13,744.90        163            5/10/2017          $178,473.78            $164,728.88       74
   26  Columbia Mall LLC                                2.1*                 $6,667.50        159            5/10/2017          $102,472.80             $97,255.08      232
   27  Florence Mall LLC                                2.1*                $13,127.61        156            5/10/2017          $118,054.77            $104,927.16      148
   28  Fox River Shopping Center LLC                    2.1*                     $0.00        155            5/10/2017            $5,967.04              $5,967.04       47
   29  Fox River Shopping Center LLC                    2.1*                     $0.00        146            5/10/2017          $183,927.95            $183,927.95       47
   30  GGP-Four Seasons LP                              2.1*                 $8,151.08        154            5/10/2017           $87,500.50             $80,739.00      217
   31  GGP-Glenbrook LLC                                2.1*                 $1,783.08        144            5/10/2017           $43,303.03             $41,519.95      108
   32  GGP-Grandville LLC                               2.1*                 $8,689.61        153            5/10/2017          $140,626.84            $131,937.23       80
   33  Grand Teton Mall LLC                             2.1*                $13,393.03        145            5/10/2017          $126,696.70            $113,303.67       71
   34  Greenwood Mall LLC                               2.1*                $14,917.20        142            5/10/2017          $190,474.44            $175,557.24       92
   35  Jordan Creek Town Center LLC                     2.1*                $19,484.56        141            5/10/2017          $250,013.57            $231,375.36       73
   36  Lakeside Mall Property LLC                       2.1*                 $9,880.46        143            5/10/2017           $79,566.51             $72,760.20      145
   37  North Town Mall LLC                              2.1*                $20,769.61        150            5/10/2017           $86,181.60             $65,411.99       75
   38  Oak View Mall LLC                                2.1*                $10,017.80        148            5/10/2017          $128,320.66            $118,449.84      221
   39  Oakwood Hills Mall LLC                           2.1*                $14,772.47        149            5/10/2017          $189,518.99            $174,746.52      104
   40  PDC-Eastridge Mall LLC                           2.1*                $13,356.73        157            5/10/2017          $169,092.49            $155,735.76      128
   41  River Hills Mall LLC                             2.1*                $15,034.91        147            5/10/2017          $164,814.94            $149,780.03       12
   42  Spokane Mall LLC                                 2.1*                $14,632.26        152            5/10/2017          $192,325.36            $177,693.10       76
   43  St. Cloud Mall LLC                               2.1*                $24,456.61        160            5/10/2017          $360,884.99            $336,914.61       27
   44  Westroads Mall LLC                               2.1*                 $6,308.33        151            5/10/2017           $69,278.15             $63,069.82       61
LANDLORD AND MALLS: SIMON PROPERTY GROUP
   45  Battlefield Mall LLC                             2.1*                $15,403.42        124             5/3/2017          $161,056.16            $146,048.52      230
   46  Bloomingdale Court, LLC                          2.1*                    $0.00         295            6/29/2017          $66,000.00              $66,000.00      146
   47  Columbia Mall P'Ship                             2.1*                $15,657.89        128             5/3/2017          $204,931.55            $191,294.03      167
   48  Empire Mall, LLC                                 2.1*                $28,250.45        203            5/18/2017          $373,688.33            $345,437.88       11
   49  Greenwood Park Mall LLC                          2.1*                $17,977.76        123             5/3/2017          $235,760.01            $219,552.84      112
   50  Mall at White Oaks LLC                           2.1*                 $9,401.93        121             5/3/2017          $132,188.72            $123,731.13      202
   51  Penn Square Mall, LLC                            2.1*                    $0.00         131             5/3/2017         $112,357.08             $112,357.08      288
   52  Simon Capital Limited P'Ship                     2.1*                $14,205.80        133             5/3/2017          $183,300.64            $170,469.60      106
   53  Simon Property Group (TX) LP                     2.1*                     $0.00        101            4/20/2017          $100,012.20            $100,012.20      177
   54  Simon Property Group (TX) LP                     2.1*                     $0.00         99            4/20/2017          $135,118.44            $135,118.44      178
   55  Simon Property Group LP                          2.1*                $15,219.47        130             5/3/2017          $199,259.65            $185,536.44        2
   56  Simon Property Group LP                          2.1*                 $7,964.38        100            4/20/2017           $99,683.20             $95,572.56      109
   57  Simon Property Group LP                          2.1*                $13,641.23        122             5/3/2017          $118,452.71            $105,311.51      272
   58  Southdale Center, LLC                            2.1*                    $0.00         129             5/3/2017          $95,000.04              $95,000.04      286
   59  Southridge Limited P'Ship                        2.1*                 $6,224.49        120             5/3/2017           $68,386.66             $62,965.33       48
   60  SPG Independence Ctr. LLC                        2.1*                $26,059.59        126             5/3/2017          $297,212.35            $271,883.64       54
   61  Woodland Hills Mall LLC                          2.1*                 $9,505.23        127             5/3/2017           $41,189.10             $32,532.20      199
LANDLORD AND MALLS: WASHINGTON PRIME
   62  Bloomingdale Court, LLC                          2.1*                     $0.00        295            6/29/2017           $66,000.00             $66,000.00      146
   63  Dayton Mall II, LLC                              2.1*                 $7,650.33        255            6/16/2017           $66,614.59             $61,537.26      115
   64  Glimcher MJC LLC                                 2.1*                 $9,877.22        254            6/16/2017           $22,669.72             $12,792.50       81
   65  Glimcher Northtown Venture LLC                   2.1*                $14,019.07        253            6/16/2017          $180,648.39            $166,969.61      212
   66  Grand Central Parkersburg LLC                    2.1*                 $8,830.33        252            6/16/2017           $30,506.12             $21,675.79      183
   67  •Lindale Mall LLC                                2.1*                $11,184.27        261            6/16/2017           $49,261.73             $38,077.46      137
   68  Mall at Great Lakes LLC                          2.1*                 $9,041.67        248            6/16/2017          $117,993.79            $108,952.12       90
   69  Mall at Lima LLC                                 2.1*                $13,791.19        249            6/16/2017           $94,855.75             $81,064.56      116
   70  Mall at Longview, LLC                            2.1*                 $6,511.32        110            4/25/2017           $87,415.86             $80,904.54      179
   71  Maplewood Mall LLC                               2.1*                $12,379.93        250            6/16/2017          $160,939.09            $148,559.16      226
   72  MFC Beavercreek LLC                              2.1*                $15,625.00        251            6/16/2017           $91,406.25             $75,781.25      114
   73  Morgantown Commons LP                            2.1*                $14,038.23        260            6/16/2017           $82,899.26             $70,174.96      184
   74  Muncie Mall LLC                                  2.1*                $13,985.79        259            6/16/2017          $151,457.68            $140,143.73      110
   75  Northwoods Shopping Center LLC                   2.1*                 $8,342.97        256            6/16/2017          $109,883.17            $101,540.20      203
   76  SM Mesa Mall LLC                                 2.1*                $12,154.93        257            6/16/2017           $97,721.66             $85,566.73      167
   77  SM Rushmore Mall LLC                             2.1*                $13,996.42        258            6/16/2017          $181,090.31            $167,093.89       18
   78  Southern Park Mall LLC                           2.1*                 $7,500.00        265            6/16/2017          $100,125.00             $92,625.00      117
   79  West Ridge Mall LLC                              2.1*                 $8,034.18        262            6/16/2017          $106,135.14             $98,100.96      255
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                                                                Class 4 - Post-Effective Date Unsecured Claims
                                                                SCHEDULE E/F                        PROOF OF CLAIM
  NO.                         CREDITOR NAME                                    SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT       DISPUTED CLAIM AMOUNT   STORE NO.
                                                                 CREDITOR #                              NO.

LANDLORD AND MALLS: MISC.
   80   Amarillo Mall LLC                                          2.1*                 $1,414.70        166            5/11/2017           $43,747.99             $42,333.29      171
   81   Birchwood Mall LLC                                         2.1*                 $4,200.52        287            6/26/2017            $4,559.07               $358.55       223
   82   C. Michelle Panovich as Court Receiver                     2.1*                 $4,583.33        243            6/15/2017           $64,421.29             $59,837.96       51
   83   Cache Valley LLC                                           2.1*                     $0.00        283            6/26/2017           $84,102.39             $84,102.39       88
   84   Central Mall Realty Holding LLC                            2.1*                 $7,719.11        118             5/1/2017          $372,389.29            $364,670.18      251
   85   Colony Square Mall LLC                                     2.1*                 $5,967.13        197            5/16/2017           $63,768.24             $57,801.11      152
   86   Conestoga Mall 2002 LLC                                    2.1*                 $6,976.17        316             7/1/2017           $88,525.33             $81,549.16       65
   87   Crossroads Mall 1999 LLC                                   2.1*                 $4,662.87        317             7/1/2017           $22,300.63             $17,637.76      132
   88   Fort Smith Mall LLC                                        2.1*                $11,299.31        167            5/11/2017          $151,720.41            $140,421.10      210
   89   Frenchtown Square Partnership                              2.1*                     $0.00        226             6/2/2017           $51,046.80             $51,046.80      275
   90   Great Plains Clinic Med. Enterpr. LLC                      2.1*                 $5,237.23        140             5/9/2017           $69,563.35             $64,326.12       19
   91   Kennedy Mall Ltd                                           2.1*                     $0.00        228             6/2/2017          $139,971.89            $139,971.89      138
   92   Macerich South Plains LP                                   2.1*                $11,564.95        310            6/30/2017          $150,477.60            $138,912.65      170
   93   Magic Valley Mall LLC                                      2.1*                 $7,506.21        294            6/29/2017           $98,761.72             $91,482.52       72
   94   Newgate Mall Equities LLC                                  2.1*                $14,823.40        319             7/3/2017          $173,440.80            $158,987.40       78
   95   North Platte Assoc. LP                                     2.1*                 $3,243.59         7             3/17/2017            $3,725.95               $482.36        69
   96   Ohio Valley Mall Company                                   2.1*                     $0.00        224             6/2/2017          $107,145.63            $107,145.63      100
   97   PR Valley View LP                                          2.1*                $14,402.60        107            4/24/2017          $160,312.91            $157,402.19      105
   98   Renaissance Partners I LLC                                 2.1*                     $0.00        311            6/30/2017          $163,330.99            $163,330.99      165
   99   Rimrock Owner LP                                           2.1*                $18,299.46        302            6/29/2017          $278,913.46            $260,614.00       15
  100 RPI Turtle Creek Mall LLC                                    2.1*                $10,001.51        286            6/26/2017          $141,602.09            $131,600.58      209
  101 Silver Lake Mall LLC                                         2.1*                 $6,449.94        288            6/26/2017           $86,733.18             $80,283.24       13
  102 Southern Hills Mall LP                                       2.1*                $26,905.51        313            6/30/2017          $403,910.80            $382,746.80       28
  103 •Southgate Mall Associates LLP                               2.1*                $12,099.91        312            6/30/2017           $51,288.99             $39,189.08      126
  104 ST Mall Owner LLC                                            2.1*                     $0.00        307            6/30/2017           $88,282.22             $88,282.22      122
  105 Star-West Gateway LLC                                        2.1*                $13,155.84        301            6/29/2017          $291,138.40            $277,982.56       60
  106 Taubman Auburn Hills Assoc LP                                2.1*                $28,291.02        169            5/12/2017          $122,570.08            $111,602.88       49
  107 Taubman Auburn Hills Assoc LP                                2.1*                     $0.00        170            5/12/2017            $9,105.18              $9,105.18       49
  108 The Marketplace                                              2.1*                 $5,575.00        164            5/10/2017           $55,404.00             $49,829.00      185
  109 Urbanical Manhattan Town Center LLC                          2.1*                $11,886.89        218            5/24/2017          $142,642.68            $130,755.79      254
TAXING AUTHORITY CLAIMS
  110 Arkansas: Sebastian County Tax Collector                     2.231                   $0.00          17           03/20/2017             $747.08                $560.31       210
  111 Arkansas: Washington County Tax Collector                    2.285                   $0.00         116           05/01/2017             $629.80                $498.61       209
  112 Colorado: El Paso County Treasurer                                                                                                      $757.41                   $0.00      164
  113 Colorado: Mesa County Treasurer                                                                                                         $511.20                $383.40       167
  114 Colorado: Pueblo County Treasurer                                                                                                      $3,025.66              $2,269.25      165
  115 Idaho: Bonneville County Treasurer                            2.19                   $0.00          21           03/20/2017             $800.34                $333.48        71
  116 Idaho: Kootenai County Treasurer                             2.141                   $0.00         210           05/19/2017               $90.75                 $68.06       13
  117 Idaho: Twin Falls County Treasurer                                                                                                        $10.40                  $8.06       72
  118 Idaho: Ada County Treasurer                                                                                                                $0.00                  $0.00       74
  119 Illinois Dept. of Employment Security                        2.111                   $0.00         362             3/6/2018             $100.00                $100.00
  120 Indiana: Allen County Treasurer                               2.5                    $0.00         195           05/16/2017             $772.80                $547.37       108
  121 Indiana: County of Dubois                                     2.67                   $0.00         200           05/15/2017            $1,896.67              $1,896.67
  122 Kansas: Saline County Treasurer                                                                                                           $44.60                 $33.45      251
  123 Kansas: Ellis County Treasurer                                                                                                          $183.92                $137.94       214
  124 Louisiana Dept of Revenue                                                                                                                                    $14,195.67
  125 Michigan: Meridian Charter Township                          2.157                   $0.00         165           05/10/2017             $561.10                   $0.00       96
  126 Michigan: City of Sterling Heights                                                                                                      $504.84                   $0.00      145
  127 Michigan: City of Sterling Heights                                                                                                        $88.81                  $0.00      145
  128 Michigan: Charter Township of Flint                                                                                                     $214.50                   $0.00      276
  129 Michigan: City of Auburn Hills                                                                                                         $1,672.59                  $0.00       49
  130 Michigan: City of Grandville                                                                                                           $1,710.37                  $0.00       80
  131 Michigan: City of Auburn Hills                                                                                                          $527.19                   $0.00       49
  132 Michigan: Frenchtown Charter Township                                                                                                  $1,386.89                  $0.00      275
  133 Michigan: Charter Township of Flint                                                                                                     $126.05                   $0.00      276
  134 Missouri: Collector for County of Buchanan                                                                                                $48.33                 $36.25      233
  135 Missouri: Jasper County Collector                                                                                                         $65.38                 $49.04      236
  136 Missouri: St. Louis County Treasurer                                                                                                    $288.76                $216.57       235
  137 Missouri: Greene County Treasurer                                                                                                       $216.92                $162.69       230
  138 Missouri: Boone County Collector of Revenue                                                                                             $752.45                $564.34       232
  139 Missouri: Jackson County Collector                                                                                                      $604.65                $453.49        54
  140 Missouri: St. Charles Collector of Revenue                                                                                             $1,433.66              $1,075.25      234
  141 Montana: Yellowstone County Treasurer                        2.303                   $0.00         334           08/07/2017             $163.09                $115.52        15
  142 Montana: Butte-Silver Bow Treasurer                                                                                                     $110.48                  $82.86       35
  143 Montana: Missoula County Clerk                                                                                                          $216.59                $153.42       126
  144 North Carolina: Guilford County Tax Department                                                                                         $2,660.12              $2,106.02      217
  145 North Carolina: Forsyth County Tax Collector                                                       361              3/5/2018           $2,275.22              $1,813.98      219
  146 North Carolina: Buncombe County Tax Department                                                                                         $1,404.15              $1,111.67      218
  147 Nebraska: Madison County Treasurer                                                                                                        $65.94                 $49.46       68
  148 Nebraska: Hall County Treasurer                                                                                                         $223.14                $167.36        65
  149 Nebraska: Buffalo County Treasurer                                                                                                        $19.38                 $14.54       66
  150 New Mexico: Taxation & Revenue Department                    1.191                   $0.00         278           06/23/2017             $209.27                $209.27
  151 New Mexico: Taxation & Revenue Department                    2.191                   $0.00         278           06/23/2017             $163.69                $163.69
  152 New York: Worker's Compensation Board                                                                                                                          $513.67
  153 Ohio: State of Ohio                                                                                                                                           $2,667.35
  154 Ohio: Regional Income Tax Agency                                                                                                                               $242.95
  155 Oklahoma: Tulsa County Treasurer                                                                                                       $1,623.00              $1,217.25      199
  156 Oklahoma: Garfield County Treasurer                                                                                                    $1,171.00               $878.25
  157 Department of the Treasury - Internal Revenue Service        2.12                    $0.00         72            04/10/2017            $7,208.74              $5,331.56      199
  158    Tennessee Department of Revenue                           2.263                   $0.00         309           07/03/2017           $10,810.00                             190
  159    Tennessee: Montgomery County Trustee                                                                                                 $220.00                 $165.00
  160    Tennessee: Murfreesboro City Tax Collector                                                                                             $17.00                 $12.75
  161    Tennessee: Rutherford County Trustee                                                                                                   $38.00                 $28.50       83
  162    Tennessee: Washington County Tax Collector                                                                                           $106.12                  $79.59       82
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                                                                        Class 4 - Post-Effective Date Unsecured Claims
                                                                          SCHEDULE E/F                           PROOF OF CLAIM
  NO.                          CREDITOR NAME                                                SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT       DISPUTED CLAIM AMOUNT   STORE NO.
                                                                           CREDITOR #                                 NO.

  163   Tennessee: Johnson City Recorder                                                                                                                     $84.00                 $63.00       82
  164   Texas: Lubbock Central Appraisal District                            2.148                       $0.00     9 and 343         3/10/2017            $1,558.46                  $0.00       81
                                                                                                                                    & 10/13/17
  165   Texas: Taxing Districts Collected by Potter County                   2.217                       $0.00    22 and 344           3/20/17            $3,238.09                   $0.00      81
                                                                                                                                  & 10/27/2017
  166   Texas: Smith County                                                  2.238                       $0.00    28 and 348         3/24/2017             $415.06                    $0.00     179
                                                                                                                                    & 11/27/17
  167   Texas: Jefferson County                                              2.129                       $0.00    91 and 349         4/17/2017            $1,800.08                   $0.00     170
                                                                                                                                     & 12/4/17
  168   Texas: El Paso County Treasurer                                      2.271                       $0.00         92           04/17/2017            $1,153.06                   $0.00
  169   Texas: Tom Green County Appraisal District                           2.268                       $0.00        196           05/16/2017            $1,400.00                   $0.00     173
  170   Texas: Tyler Independent School District                                                                  336 and 345        8/18/2017             $757.41                    $0.00     178
                                                                                                                                     & 11/2/17
  171   Texas: Midland Central Appraisal District                                                                                                         $1,151.07                  $0.00      176
  172   US Customs Service                                                                                                                                                     $180,367.00
  173   Washington: Benton County Treasurer                                   2.16                       $0.00        95            04/18/2017             $365.20                $124.96       163
  174   Wisconsin: City of Brookfield                                                                                                                     $1,737.38              $1,563.06      264
  175   Wisconsin: City of Madison Treasurer                                                                          346           11/13/2017            $1,562.96              $1,172.22       98
  176   Wisconsin: City of LaCrosse                                                                                                                        $681.57                $511.18       105
  177   Wisconsin: City of Eau Claire                                                                                                                      $508.12                $359.92       104
  178   Wisconsin: Brown County Treasurer                                                                                                                 $1,576.00              $1,182.00      106
  179   Wisconsin: City of Wausau                                                                                                                          $192.36                $144.27        51
  180   Wisconsin: Town of Grand Chute                                                                                                                     $169.17                $126.88        47
  181   Wisconsin: Village of Greendale, Milwaukee City                                                                                                    $443.96                $332.97        48
  182   Wisconsin: Village of Ashwaubenon, Green Bay                                                                                                      $1,607.52              $1,205.64      106
  183   Wisconsin: Fond Du Lac County Treasurer                                                                                                            $612.65                $459.49
  184   Wisconsin: City of Janesville                                                                                                                      $397.04                $297.78        46
  185   West Virginia: Wood County Treasurer                                                                                                              $1,063.30               $797.48       183
  186   West Virginia: Monongalia County Treasurer                                                                                                         $556.81                $278.41       183
  187   Wyoming: Natrona County Treasurer                                    2.184                       $0.00        12            03/13/2017             $224.72                $168.54       128
  188   Wyoming: Larimore County Treasurer                                                                                                                 $354.07                $265.55       129
MISC.
  189   American Solutions for Business                                       3.39                                    267           05/18/2017            $6,280.15              $6,280.15
  190   Anderson Bottrell Sanden & Thompson                                   3.45                    $292.50                                                                     $292.50
  191   BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.               3.308                  $63,869.33        137           05/08/2017           $80,536.85             $16,667.52
  192   Bottrell Family Investments, LP                                                                           304 and 341        6/30/2017          $215,328.92            $215,328.92
                                                                                                                                      amended
                                                                                                                                       10/4/17
  193   Bottrell Family Investments, LP                                                                               285           06/26/2017            $3,588.40              $3,588.40
  194   Contempo Limited                                                     3.152                  $22,032.05    37 and 340        03/28/2017           $23,519.19                  $0.00
  195   Diamond B Companies, Inc.                                            3.174                                    280           06/26/2017            $2,082.25              $2,082.25
  196   Euler Hermes N.A. (Aimee Lynn)                                        3.42                   $5,285.53        330           07/19/2017            $5,412.00               $126.47
        Euler Hermes N. A. Agent for Active USA Inc. Claim                    3.19                   $2,825.04         45           03/31/2017            $3,060.00               $234.96
  197   000409289
  198   General Information Services                                          3.23                   $3,559.00        168           05/12/2017            $3,615.00                 $56.00
  199   GreatAmerica Financial Services Corporation                                                                   221           05/26/2017          $330,298.54            $330,298.54
  200   Guru Knits, Inc.                                                     3.248                   $1,212.75        306           06/30/2017           $17,013.00             $17,013.00
  201   H. E. Neumann Company                                                3.249                    $196.10         322           07/06/2017             $832.10                $636.00
  202   JC Security LLC                                                      3.289                    $165.90         219           05/25/2017             $717.15                $551.25
  203   Jenna Barton                                                         3.292                  $18,000.00                                                                  $18,000.00
  204   Jiangsu Guotai Huasheng Industrial Co., Ltd.                         3.296                  $95,044.10       206           05/19/2017           $95,206.10                $162.00
  205   Jiangsu Guotai International Group Guomao Co., Ltd                   3.297                  $59,065.00       207           05/19/2017           $88,714.53              $29,649.53
  206   Just Julez Inc.                                                      3.309                   $8,367.24        84           04/11/2017            $8,538.00                $170.76
  207   Katherine Baber                                                                                              315           07/01/2017        UNLIQUIDATED
  208   Liaoning Chengda Co Ltd.                                             3.129                $275,351.35       56/333          3/30/2017;         $305,731.15             $305,731.15
                                                                                                                                   amended on
                                                                                                                                     7/31/2017
  209   Lozier Corporation                                                   3.343                  $26,708.34        298          06/29/2017           $204,290.18            $189,779.62
  210   Marco Technologies LLC                                          Schedule G - 2.38                             269          05/22/2017           $125,042.55             $83,689.39
  211   Palen Kimball, LLC                                                   3.438                   $7,218.00        332           7/28/2017             $8,573.76              $1,355.76
  212   Pomeroy IT Solutions Sales Company, Inc.                                                                      290          06/28/2017            $84,790.35             $84,790.35
  213   Sales Floor Live LLC                                                 3.497                   $4,760.00        284          06/26/2017             $4,760.00              $4,760.00
  214   Sales Floor Live, LLC                                                                                         303          06/30/2017             $7,495.70              $7,495.70
  215   State of California Department of Industrial Relations - Aide        3.541                  $74,135.00                                                                  $74,153.00
        Guadalupe Martinez-Miranda
        (Case No. 633-125331/OV)
  216   State of California Department of Industrial Relations - Alba        3.543                $152,164.00                                                                  $152,164.00
        Luz Hernandez Lopez
        (Case No. WC-CM-182134)
  217   State of California Department of Industrial Relations - Diego       3.547                $181,831.40                                                                  $181,831.40
        Perez-Meza
        (Case No. WC-CM-157416)
  218   State of California Department of Industrial Relations -             3.542                  $83,738.50                                                                  $83,738.50
        Gabriel Catalan Vargas
        (Case No. WC-CM-208859)
  219   State of California Department of Industrial Relations - Gloria      3.552                  $70,917.50                                                                  $70,917.50
        Cendejas De Cachu
        (Case No. WC-CM-183664)
  220   State of California Department of Industrial Relations - Isabel      3.556                  $44,070.76                                                                  $44,070.76
        Valazquez-Guerra (Case No. WC-CM-158918)
  221   State of California Department of Industrial Relations - Ismael      3.554                $105,470.00                                                                  $105,470.00
        Veliz-Herrera
        (Case No. WC-CM-156085)
  222   State of California Department of Industrial Relations - Jose        3.557                $189,190.50                                                                  $189,190.50
        Miguel Rodriguez (Case No. WC-CM-159253)
                Case 17-30112                           Doc 727              Filed 05/21/18 Entered 05/21/18 12:20:04                                                    Desc Main
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                                                                          Class 4 - Post-Effective Date Unsecured Claims
                                                                          SCHEDULE E/F                        PROOF OF CLAIM
   NO.                           CREDITOR NAME                                           SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT       DISPUTED CLAIM AMOUNT   STORE NO.
                                                                           CREDITOR #                              NO.

  223    State of California Department of Industrial Relations - Josue      3.548             $114,149.50                                                                  $114,149.50
         Garcia-Cruz (Case No. WC-CM-156087)
  224    State of California Department of Industrial Relations -            3.553               $77,389.00                                                                  $77,389.00
         Justina Cortes Reyna
         (Case No. WC-CM-159267)
  225 State of California Department of Industrial Relations -               3.550             $105,470.00                                                                  $105,470.00
         Lucitana Chavac
         (Case No. WC-CM-156084)
  226 State of California Department of Industrial Relations -               3.544               $71,201.00                                                                  $71,201.00
         Magdalena Antonio
         (Case No. WC-CM-159398)
  227 State of California Department of Industrial Relations -               3.546               $99,131.50                                                                  $99,131.50
         Magdalena Solis
         (Case No. WC-CM-157222)
  228 State of California Department of Industrial Relations -               3.555               $61,017.00                                                                  $61,017.00
         Manuel Demetrio Sosa
         (Case No. WC-CM-184641)
  229 State of California Department of Industrial Relations - Maria         3.545               $69,132.00                                                                  $69,123.00
         de Monserrat Leyva-Gonzalez
         (Case No. WC-CM-159228)
  230 State of California Department of Industrial Relations -               3.551             $201,552.50                                                                  $201,552.50
         Miriam Perez
         (Case No. WC-CM-156086)
  231 State of California Department of Industrial Relations -               3.549               $38,816.40                                                                  $38,816.40
         Patricia Gomez-Arellano
         (Case No. WC-CM-158973)
  232 TGC, LP                                                                D 2.1            $5,248,777.43        281            6/26/2017        $5,248,777.43          $5,248,777.43
  233 The CIT Group/Commercial Services, Inc.                                                                       38           03/29/2017         $155,608.85              $17,409.90
LATE OR DUPLICATIVE
  234 Quincy Mall Inc.                                                       2.1*                     $0.00         34            3/28/2017            $8,856.35              $8,856.35      147
  235 Cheryl Maxwell                                                         3.1                                   338           08/25/2017              $58.76                  $58.76
  236 Guru Knits, Inc.                                                                                             308           07/03/2017           $17,013.00             $17,013.00
  237 Lindsay Doyle                                                           3.1                                  342           10/12/2017             $200.00                $200.00
  238 Mary Jo Crandell                                                        3.1                                  355            1/16/2018               $32.22                 $32.22
  239 Melissa Clement                                                         3.1                                  331           07/24/2017              $25.00                  $25.00
  240 Nellie Ouellet                                                          3.1                                  339            9/18/2017             $100.00                $100.00
  241 Project 28 Clothing LLC                                                3.467                $1,896.00         67           04/07/2017            $3,577.50              $1,681.50
  242 Planet Gold Clothing Co, Inc. (Golden Touch)                           3.237                                 328           07/18/2017            $1,782.00              $1,782.00
  243 Ranae Wiggins                                                           3.1                                  354             1/4/2018             $100.00                $100.00
  244 Trina Anderson                                                          3.1                                  356             2/6/2018               $50.00                 $50.00
  245 Jaclyn Mize                                                             3.1                                  357            1/22/2018             $150.00                $150.00
  246 Patricia Ann Draper                                                     3.1                                  358            1/23/2018               $50.00                 $50.00
  247 Jessica Wegner                                                          3.1                                  359            2/13/2018             $150.00                $150.00
  248 Jennifer Brettschneider                                                 3.1                                  360            2/16/2018               $52.08                 $52.08
  249 # Ashley Erickson                                                       3.1                                  365            3/29/2018               $19.48                 $19.48
  250 # Kate Summers                                                          3.1                                  363            3/20/2018               $34.95                 $34.95
  251 # Sherri Heinert                                                        3.1                                  368            4/24/2018               $20.00                 $20.00
  252 # Sherry L. Stark                                                       3.1                                  367             4/3/2018             $200.00                $200.00




TOTALS:                                                                                       $8,602,433.04                                       $20,382,756.72         $20,880,866.08
